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  9
                         UNITED STATES DISTRICT COURT
 10                    SOUTHERN DISTRICT OF CALIFORNIA
 11    MICHAEL WARNER, Derivatively    )          CASE NO.: '24CV0464 BAS BLM
 12    on Behalf of ILLUMINA, INC.     )
                                       )          VERIFIED SHAREHOLDER
 13                 Plaintiff,
                                       )          DERIVATIVE COMPAINT
 14          v.                        )
                                       )
 15
       FRANCIS A. DESOUZA, SAM. A      )          JURY TIAL DEMANDED
 16    SAMAD, FRANCES ARNOLD,          )
       CAROLINE DORSA, ROBERT S.       )
 17    EPSTEIN, SCOTT GOTTLIEB,        )
       GARY S. GUTHART, PHILIP
 18    SCHILLER, SUE SIEGEL,           )
       ANDREW TENO, SCOTT B.           )
 19
       ULLEM and JOHN THOMPSON,        )
 20                                    )
                    Defendants,        )
 21
                                       )
        and,
 22                                    )
 23    ILLUMINA, INC.                  )
                                       )
 24              Nominal Defendant.    )
       _______________________________ )
 25

 26
            Plaintiff Michael Warner (“Plaintiff”), by and through his undersigned
 27
      counsel, derivatively on behalf of Illumina, Inc. (“Illumina” or the “Company”),
 28                 VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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  1   submits this Verified Shareholder Derivative Complaint (the “Complaint”).
  2   Plaintiff’s allegations are based upon his personal knowledge as to himself and his
  3   own acts, and upon information and belief, developed from the investigation and
  4   analysis by Plaintiff’s counsel, including a review of publicly available information,
  5   including filings by the Company with the U.S. Securities and Exchange
  6   Commission (“SEC”), press releases, news reports, analyst reports, investor
  7   conference transcripts, publicly available filings in lawsuits, and matters of public
  8   record. Plaintiff believes that substantial evidentiary support will exist for the
  9   allegations set forth herein after a reasonable opportunity for discovery.
 10                              NATURE OF THE ACTION
 11         1.     This is a shareholder derivative action brought in the right, and for the
 12   benefit, of the Company against certain of its officers and directors seeking to
 13   remedy the Individual Defendants’ (defined below) violations of state and federal
 14   law that have occurred from September 21, 2020 through the present (the “Relevant
 15   Period”) and have caused substantial harm to the Company through, inter alia,
 16   regulatory investigations, large fines, and litigation.
 17         2.     Based in San Diego, California, the Company develops, manufactures,
 18   and markets integrated systems for large scale analysis of genetic variation and
 19   biological functions.
 20         3.     In 2015, the Company created a subsidiary called GRAIL, Inc.
 21   (“GRAIL”). GRAIL’s goal was to create a non-invasive blood test that could screen
 22   asymptomatic patients for several types of cancer. In 2017, the Company spun
 23   GRAIL off as a standalone, privately held company.
 24         4.     On September 21, 2020, the Company announced its plan to re-acquire
 25   GRAIL for $8 billion.
 26         5.     The Individual Defendants repeatedly justified the GRAIL acquisition
 27   to shareholders, including by stating the acquisition “will result in the savings of tens
 28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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  1   of thousands of lives . . . simply because we can accelerate the business” and that
  2   the acquisition was “creating long-term shareholder value.” As a result of these
  3   material misrepresentations and omissions, shares of the Company’s common stock
  4   traded at artificially inflated prices.
  5          6.     The truth began to emerge on March 30, 2021, when the U.S. Federal
  6   Trade Commission (the “FTC”) sued in U.S. Federal Court to block the Company’s
  7   acquisition of GRAIL. In response, the Company published a press release stating
  8   it “disagrees with, and will oppose, the [FTC]’s challenge to its previously
  9   announced acquisition of GRAIL.” On this news, the price of the Company common
 10   stock declined nearly 6.6%, from a closing price of $395.00 per share on March 29,
 11   2021, to a closing price of $368.96 on March 30, 2021.
 12          7.     Then, right before the market closed on July 13, 2021, Reuters
 13   published an article reporting that European Union regulators were demanding
 14   concessions from GRAIL as part of its review of the acquisition. This news caused
 15   the price of the Company common stock to decline over 4.6%, from a closing price
 16   of $483.52 per share on July 13, 2021, to a closing price of $460.92 per share on
 17   July 14, 2021.
 18          8.     After the market closed on August 18, 2021, the Company announced
 19   that it had closed its acquisition of GRAIL. On this news, the price of the Company
 20   common stock declined nearly 7.9%, from a closing price of $510.61 on August 18,
 21   2021, to a closing price of $470.36 on August 19, 2021.
 22          9.     On Sunday, January 16, 2022, The Financial Times published an article
 23   reporting that the Company’s CEO was “confident Illumina would prevail in the
 24   case launched against [European Union regulators] which [the Company] argues has
 25   no jurisdiction to investigate the GRAIL deal.” In response, the price of the
 26   Company common stock declined more than 5.4%, from a closing price of $405.14
 27   per share on January 14, 2022, to a closing price of $383.13 on January 18, 2022.
 28                    VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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  1         10.    Then, before the market opened on May 1, 2023, Carl Icahn published
  2   an open letter to Illumina shareholders, questioning the GRAIL acquisition and
  3   requesting that the Company’s Board of Directors (“Board”) “bring in an outside –
  4   and demonstrably independent – law firm and forensic accounting team to
  5   investigate and address these questions publicly.” The Company responded just
  6   before the market closed on May 1, 2023, by filing a Proxy Statement with the SEC
  7   on Schedule 14A, stating “none of Illumina’s directors . . . has ever held any equity
  8   interests in GRAIL” and “[a]t the time of Illumina’s various investment rounds in
  9   GRAIL, no individuals at Illumina were investors in GRAIL. . . . and did not
 10   otherwise receive any GRAIL equity.” On this news, the price of the Company’s
 11   common stock declined more than 5%, from a closing price of $205.56 on April 28,
 12   2023, to a closing price of $195.16 on May 2, 2023.
 13         11.    On May 25, 2023, the Company held its shareholder vote, culminating
 14   with Carl Icahn winning one seat on the Company’s Board. This caused the price
 15   of the Company common stock to decline by nearly 9%, from a closing price of
 16   $212.65 per share on May 24, 2023, to a closing price of $193.53 per share on May
 17   25, 2023.
 18         12.    Then, after the market closed on June 26, 2023, the Company filed a
 19   Current Report with the SEC on Form 8-K. In that report, the Company announced
 20   a “multiyear plan to realign its operating expenses” and plans to reduce its
 21   annualized run rate by at least $100 million. On this news, the price of Illumina
 22   common stock declined 4.4%, from a closing price of $191.88 on June 26, 2023, to
 23   a closing price of $183.43 on June 27, 2023.
 24         13.    On August 10, 2023, after the market closed, the Company disclosed
 25   that it was the target of an SEC investigation. In response, the price of Illumina
 26   common stock declined more than 2.5%, from a closing price of $185.12 on August
 27   10, 2023, to a closing price of $180.48 on August 11, 2023.
 28                  VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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  1         14.    Following this, on October 12, 2023, the European Union (“EU”)
  2   ordered the Company to unwind its transaction with GRAIL, having determined the
  3   acquisition to be anti-competitive, in order to “restore the situation prevailing before
  4   the completion of the acquisition” (the “EU Divestiture Order”).
  5         15.    Then, after the market closed on October 17, 2023, Carl Icahn filed a
  6   derivative and class action lawsuit in Delaware Court of Chancery against current
  7   and former members of Illumina’s board of directors. In response, the price of
  8   Illumina common stock declined more than 5.6%, from a closing price of $131.87
  9   on October 17, 2023, to a closing price of $124.45 on October 18, 2023.
 10         16.    Finally, after the market closed on November 9, 2023, Illumina
 11   announced it would be taking an $821 million write down related to GRAIL. On this
 12   news, the price of Illumina common stock declined more than 8%, from a closing
 13   price of $106.98 on November 9, 2023, to a closing price of $98.37 on November
 14   10, 2023.
 15                                     JURISDICTION
 16         17.    This Court has jurisdiction over the subject matter of this action
 17   pursuant to 28 U.S.C. § 1331 as the claims asserted herein arise under Sections 10(b),
 18   and 21D of the Securities Exchange Act of 1934 (“Exchange Act”). This Court also
 19   has jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367(a).
 20         18.    This Court has personal jurisdiction over each defendant named herein
 21   because each defendant is either a corporation that conducts business in and
 22   maintains operations in this District or is an individual who has sufficient minimum
 23   contacts with this District to render the exercise of jurisdiction by the courts of this
 24   District permissible under traditional notions of fair play and substantial justice.
 25         19.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because:
 26   (i) the Company maintains its principal place of business in this District; (ii) one or
 27   more of the defendants either resides in or maintains executive offices in this
 28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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  1   District; (iii) a substantial portion of the transactions and wrongs complained of
  2   herein, including Defendants’ primary participation in the wrongful acts detailed
  3   herein and aiding and abetting and conspiracy in violation of fiduciary duties owed
  4   to the Company, occurred in this District; and (iv) Defendants have received
  5   substantial compensation in this District by doing business here and engaging in
  6   numerous activities that had an effect in this District.
  7         20.    In connection with the acts, transactions, and conduct alleged herein,
  8   the Individual Defendants directly and indirectly used the means and
  9   instrumentalities of interstate commerce, including the United States mail, interstate
 10   telephone communications, and the facilities of a national securities exchange.
 11                                      THE PARTIES
 12
      Plaintiff
 13
            21.    Plaintiff is, and was at relevant times, a shareholder of the Company.
 14
      Plaintiff will fairly and adequately represent the interests of the shareholders in
 15
      enforcing the rights of the corporation.
 16
      Nominal Defendant
 17
            22.    Nominal Defendant Illumina is incorporated under the laws of
 18
      Delaware with its principal executive offices located in San Diego, California.
 19
      Illumina’s common stock trades on the NASDAQ exchange under the symbol
 20
      “ILMN.”
 21
      Director Defendants
 22
            23.    Defendant Frances Arnold (“Arnold”) has served as a director of the
 23
      Company since 2016.         Defendant Arnold also serves as a member of the
 24
      Nominating/Corporate Governance Committee and Chair of the Science and
 25
      Technology Committee. Defendant Arnold was involved in the decision to close the
 26
      GRAIL acquisition and later made and/or approved misleading disclosures about the
 27
      GRAIL acquisition in the Company’s SEC filings.
 28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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  1         24.      Defendant Caroline Dorsa (“Dorsa”) has served as a director of the
  2   Company since January 2017. Defendant Dorsa also serves as the Chair of the Audit
  3   Committee. Defendant Dorsa was involved in the decision to close the GRAIL
  4   acquisition and later made and/or approved misleading disclosures about the GRAIL
  5   acquisition in the Company’s SEC filings.
  6         25.      Defendant Robert S. Epstein (“Epstein”) has served as a director of the
  7   Company since November 2012. Defendant Epstein also serves as a member of the
  8   Compensation Committee and Chair of the Nominating/Corporate Governance
  9   Committee. Defendant Epstein was involved in the decision to close the GRAIL
 10   acquisition and later made and/or approved misleading disclosures about the GRAIL
 11   acquisition in the Company’s SEC filings.
 12         26.      Defendant Scott Gottlieb (“Gottlieb”) has served as a director of the
 13   Company since February 2020. Defendant Gottlieb also serves as a member of the
 14   Compensation Committee and the Nominating/Corporate Governance Committee.
 15   Defendant Gottlieb was involved in the decision to close the GRAIL acquisition and
 16   later made and/or approved misleading disclosures about the GRAIL acquisition in
 17   the Company’s SEC filings.
 18         27.      Defendant Gary S. Guthart (“Guthart”) has served as a director of the
 19   Company since December 2017. Defendant Guthart also serves as a member of the
 20   Audit Committee and the Science and Technology Committee. Defendant Guthart
 21   was involved in the decision to close the GRAIL acquisition and later made and/or
 22   approved misleading disclosures about the GRAIL acquisition in the Company’s
 23   SEC filings.
 24         28.      Defendant Philip Schiller (“Schiller”) has served as a director of the
 25   Company since July 2016. Defendant Schiller also serves as a member of the
 26   Nominating/Corporate Governance Committee and the Science and Technology
 27   Committee. Defendant Schiller was involved in the decision to close the GRAIL
 28                    VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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  1   acquisition and later made and/or approved misleading disclosures about the GRAIL
  2   acquisition in the Company’s SEC filings.
  3         29.   Defendant Sue Siegel (“Siegel”) has served as a director of the
  4   Company since February 2019. Defendant Siegel also serves as the Chair of the
  5   Compensation Committee. Defendant Siegel was involved in the decision to close
  6   the GRAIL acquisition and later made and/or approved misleading disclosures about
  7   the GRAIL acquisition in the Company’s SEC filings.
  8         30.   Defendant Andrew Teno (“Teno”) has served as a director of the
  9   Company during the relevant period. Defendant Teno also serves as a member of
 10   the Compensation Committee.
 11         31.   Defendant Scott B. Ullem (“Ullem”) has served as a director since
 12   2023. Defendant Ullem also serves as a member of the Audit Committee.
 13         32.   Defendants Arnold, Dorsa, Epstein, Gottlieb, Guthart, Schiller, Siegel,
 14   Teno, and Ullem are sometimes referred to herein collectively as the “Director
 15   Defendants.”
 16   Former Officer and Director Defendants
 17         33.   Defendant Francis A. deSouza (“deSouza”) was the Company’s Chief
 18   Executive Officer (“CEO”) from 2016 to June 11, 2023. Defendant deSouza
 19   spearheaded the GRAIL acquisition and made and/or approved misleading
 20   disclosures regarding the same. In Q1 2022, after the GRAIL acquisition, Defendant
 21   deSouza received a special grant of stock options from the Compensation Committee
 22   (Defendants Dorsa, Epstein, and Guthart) which contributed to the $25 million in
 23   long-term equity compensation that Defendant deSouza received from the Company
 24   in 2022. In total, the Company paid Defendant deSouza $52,819,424 for his service
 25   as CEO for fiscal years 2020-22.
 26

 27

 28                  VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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  1         34.     Defendant John Thompson (“Thompson”) was the Chairman on the
  2   Company’s Board of Directors from May 2021 to May 25, 2023 when he was voted
  3   off the Board at the 2023 annual stockholder meeting.
  4         35.     Defendant Sam A. Samad (“Samad”) served as Chief Financial Officer
  5   (“CFO”) of the Company from 2017 until July 2022.
  6         36.     The Director Defendants along with Defendants deSouza, Thompson,
  7   and Samad are collectively referred to herein as the “Individual Defendants.”
  8   Non-Parties
  9         37.     Non-Party Stephen P. MacMillan (“MacMillan”) has served as Chair
 10   of the Board since June 2023.
 11         38.     Non-Party Jacob Thaysen (“Thaysen”) has served as CEO and a
 12   director of the Company since September 2023.
 13                           SUBSTANTIVE ALLEGATIONS
 14   Background
 15         39.     Illumina is a leading genetic and genomic analysis company with a
 16   portfolio of integrated sequencing and microarray systems, consumables, and
 17   analysis tools designed to accelerate and simplify genetic analysis. In 2015, Illumina
 18   formed GRAIL as a corporate subsidiary to develop a blood-based cancer detection
 19   test, enabled by the Company’s sequencing technology, with the power to detect
 20   multiple types of cancer in asymptomatic individuals through a single blood draw.
 21         40.     In 2016, the Company raised $100 million for GRAIL from several new
 22   investors. At this time, Illumina retained 55% of GRAIL’s equity, along with 90%
 23   of GRAIL’s voting power. However, in February 2017, the Company Illumina spun
 24   off GRAIL and retained a stake of approximately 20%.
 25         41.     Illumina told investors that it was spinning off GRAIL “to encourage
 26   investment into many different NGS [next-generation sequencing]-based cancer
 27   detection companies” so that the world would have “as many shots on goal as
 28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   possible.” The Company stated that “reducing its ownership in GRAIL” would
   2   “level the playing field” and “accelerate the liquid biopsy market for all.” 1
   3         42.    After GRAIL raised $1.9 billion through venture capital and strategic
   4   partners, Illumina announced plans to reacquire GRAIL in September 2020 for
   5   approximately $8 billion in cash and stock consideration. On September 9, 2020,
   6   GRAIL registered with the SEC for an Initial Public Offering. The acquisition was
   7   completed on August 18, 2022 over the objection of the EU’s European Commission
   8   (“EC”).
   9             MATERIALLY FALSE AND MISLEADING STATEMENTS
  10         43.    Throughout the Relevant Period, the Company continuously
  11   highlighted the benefits of its acquisition of GRAIL to the public and misled
  12   shareholders on the Company’s reasons for entering into the acquisition. Indeed,
  13   Defendant deSouza claimed that the deal was “a matter not of corporate expansion
  14   but life and death,” and that the Board had a “moral obligation” to close the deal.
  15         44.    In the Company’s September 21, 2020 press release announcing the
  16   acquisition of GRAIL, the Company touted the benefits of the acquisition, stating
  17   that the following were “strategic benefits” for the Company:
  18

  19
             ●      Increases Illumina’s Directly Accessible Total Addressable
             Market and Offers Multiple Future Growth Opportunities. GRAIL
  20
             extends Illumina’s portfolio to include cancer screening, diagnosis and
  21         cancer monitoring, creating a portfolio of best-in-class, proprietary tests
  22         in each of the major oncology testing application areas. Oncology test
             utilization and payor coverage is accelerating, and the total NGS
  23

  24

  25
       1
             In the Matter of Illumina, Inc. and GRAIL, Inc., FTC Matter/File Number
  26
       201 0144, Dkt. No. 9401, at 60 (Mar. 31, 2023) (OPINION OF THE
  27   COMMISSION).
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
             oncology opportunity is expected to grow at a CAGR of 27% to $75
             billion in 2035.
   2

   3         ●     Accelerates Adoption of NGS-Based Early Multi-Cancer
   4         Detection Test to Reach More Patients Faster. Illumina plans to
             leverage its global scale, manufacturing and clinical capabilities to
   5
             support GRAIL’s commercialization efforts, realize the total
   6         addressable market potential and drive significant growth in the clinical
   7         value chain.
   8
             ●      Enhances Illumina’s Position in Clinical Genomics. NGS is
   9         poised to revolutionize oncology care, and this acquisition allows
  10         Illumina to participate more fully in the high value clinical solutions
  11         that are enabled by its NGS sequencing technology. With GRAIL,
             Illumina will continue as a leading sequencing innovator and partner,
  12
             while also becoming a proprietary test provider.
  13

  14         45.   In the same press release, Defendant deSouza stated that:
  15
             Together, we have an important opportunity to introduce routine and
  16
             broadly available blood-based screening that enables early cancer
  17         detection when treatment can be more effective and less costly. Multi-
  18         cancer early detection is better for patients, their physicians, and payors.
             As we accelerate our path to clinical leadership and the path to multi-
  19
             cancer early detection, we will continue to drive significant value
  20         creation for our stockholders.
  21         46.   October 29, 2020, the Company held an earnings call for the third
  22   quarter of 2020 for investors and analysts (the “3Q20 Earnings Call”). In the 3Q20
  23   Earnings Call, Defendant deSouza stated:
  24
             We believe our planned acquisition of GRAIL will accelerate a new era
  25
             of early cancer detection, transforming cancer survivability and
  26         opening up the largest clinical application of genomics we’ve seen. We
  27         look forward to welcoming our GRAIL colleagues to Illumina when
  28                  VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
             the acquisition closes. Upon close, we expect to operate GRAIL as a
             division within Illumina. We remain committed to supporting all of
   2
             Illumina’s customers and ensuring that innovators who wish to develop
   3         NGS-based tests have continued access to our technologies.
   4         47.    Additionally, in the “Questions and Answers” portion of the 3Q20
   5   Earnings Call, an analyst asked, “one of the key questions that has emerged . . . is
   6   the approach that Illumina took to GRAIL’s acquisition in light of another multi-
   7   cancer liquid biopsy acquisition this week . . . could you elaborate, if there is
   8   anything . . . that gives you a greater confidence and a higher valuation.” In response,
   9   Defendant Samad stated:
  10
             What attracted us to GRAIL was its unique position in that market in
  11
             terms of being the closest to having a commercial test and in terms of
  12         having the performance characteristics, consistent with being closer to
  13         having a commercial test. So, GRAIL is looking to launch its test next
             year and that will likely make them the first player into the market. We
  14
             have also undertaken by far some of the largest clinical studies in that
  15         space. And so, they have over 100,000 people enrolled in the studies
  16         that they’ve done and generated quite a remarkable bolus of data
             associated with their test. And then the performance characteristics of
  17
             their tests are very strong. So, for the 12 deadliest cancers, they have a
  18         sensitivity in the high-60% with a false-positive rate of less than 1%,
  19         which really does represent our best-in-class product at this time in the
  20         market.

  21
             What we also like to is that the only player at this point that has FDA
  22         approval in terms of being able to run an IDE study to return results to
  23         patients and so they are working with some of the premier healthcare
             systems, including the Mayo Clinic, Cleveland, Oregon Health System,
  24
             the Intermountain Health System, Dana-Farber, Sutter Health and so
  25         they already have their gallery test in the hands of doctors returning
  26         results to patients as part of the study. And so, having that FDA
             approval is also very attractive is and all of that obviously factored into
  27
             the price associated with GRAIL.
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
             48.    In the Company’s quarterly report for the period ended September 27,
   2
       2020, filed with the SEC on October 30, 2020 on a Form 10-Q (the “3Q20 10-Q”),
   3
       the Company stated that “[w]e believe that our acquisition of GRAIL will accelerate
   4
       the adoption of NGS-based early multi-cancer detection tests, enhance our position
   5
       in Clinical Genomics, and increase our directly accessible total addressable market.”
   6
       The 3Q20 10-Q was signed by Defendant Samad.
   7
                     THE TRUTH BEGINS TO EMERGE, BUT FALSE
   8
             AND MISLEADING STATEMENTS CONTINUE TO BE MADE
   9
             49.    On March 30, 2021, the Federal Trade Commission (“FTC”)
  10
       announced that it filed an administrative complaint and authorized a federal lawsuit
  11
       to block Illumina’s proposed acquisition of GRAIL. The FTC complaint alleged
  12
       that the proposed acquisition of GRAIL was anticompetitive and would diminish
  13
       innovation in the United States market for multi-cancer early detection tests. The
  14
       FTC sought and obtained a temporary restraining order (“TRO”) prohibiting the deal
  15
       from closing pending a trial on the FTC’s request for a preliminary injunction
  16
       restraining the deal.
  17
             50.    The Company issued a press release on March 30, 2021 in response to
  18
       the FTC’s announcement. In the press release, the Company stated that it “disagrees
  19
       with, and will oppose, the U.S. Federal Trade Commission (FTC)’s challenge to its
  20
       previously announced acquisition of GRAIL.” The March 30, 2021 press release
  21
       touted the benefits of the acquisition, stating:
  22

  23         Illumina originally founded GRAIL five years ago and the two
  24         companies do not compete in any way. In reuniting the two
             organizations, Illumina will leverage its global scale of manufacturing
  25
             and clinical capabilities, as well as its global regulatory and
  26         reimbursement expertise, to bring early-stage, multi-cancer testing to
  27

  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

                                                  13
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   1
             patients more quickly and more affordably, resulting in more lives
             being saved. …
   2

   3         Illumina strongly believes that acquiring GRAIL is in the best interests
   4         of patients, is procompetitive, and benefits the multi-cancer early
             detection field as a whole.
   5

   6
             51.    On this news, the Company’s stock price fell $25.44 per share, or
   7
       approximately 6.5%, going from $394.40 at open on March 30, 2021 to close at
   8
       $368.96 on March 30, 2021.
   9
             52.    On or around April 19, 2021, the EC accepted a request from France –
  10
       joined by Belgium, Greece, Iceland, the Netherlands, and Norway – to assess the
  11
       proposed acquisition of GRAIL under the EU Merger Regulation. The EC asserted
  12
       its jurisdiction to review the Company’s acquisition of GRAIL and formally
  13
       commenced its own preliminary investigation into the deal. The Commission stated
  14
       that “the transaction threatens to significantly affect competition within the territory
  15
       of the Member States making the request and GRAIL’s competitive significance is
  16
       not reflected in its turnover.”2
  17
             53.    The EC investigation triggered standstill obligations under the EU
  18
       Merger Regulation, which provides that any merger under review “shall not be
  19
       implemented” until the companies subject to the review have received clearance to
  20
       do so. Council Regulation No. 139/2004, Art. 7(1). The FTC, relying expressly on
  21
       the Company’s inability to the close the deal in the face of these standstill
  22

  23

  24
       2
              European Commission, Mergers: Commission starts investigation for
  25
       possible breach of the standstill obligation in Illumina / GRAIL transaction (Aug.
       20, 2021) (PRESS RELEASE),
  26
       https://ec.europa.eu/commission/presscorner/detail/en/ip 21 4322 (Last accessed
  27   Mar. 8, 2024).
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   obligations, dismissed its complaint against the Company (and the accompanying
   2   TRO) without prejudice to renew.
   3         54.    Despite these announcements, Illumina continued to double down on
   4   its acquisition of GRAIL, and the benefits to shareholders and the public associated
   5   therewith.
   6         55.    On April 20, 2021, in response to the European Commission’s
   7   announcement, the Company issued a press release stating that the Company
   8   “disagrees with the European Commission’s Directorate-General for Competition’s
   9   decision to review Illumina’s acquisition of GRAIL.”         In the press release,
  10   Defendant deSouza emphasized the benefits of the acquisition and the Company’s
  11   reasons for the acquisition, stating that “[r]euniting GRAIL and Illumina will allow
  12   us to bring GRAIL’s breakthrough early detection multi-cancer test to patients
  13   across the world faster and consequently save lives.”
  14         56.    On April 27, 2021, the Company held its earnings call for the first
  15   quarter of 2021 for investors and analysts (“Q121 Earnings Call”), where Defendant
  16   deSouza stated that:
  17
             Our commitment to the advancement of human health is an Illumina
  18         core tenet, which brings me to GRAIL. We are pleased with the
  19         progress GRAIL is making and remain committed to pursue the
  20
             completion of the GRAIL acquisition. GRAIL recently presented
             affirmative data from its CCGA3 study at the American Association for
  21
             Cancer Research Annual Meeting and is expecting to launch Galleri, its
  22         breakthrough multi-cancer early detection screening test, in Q2. One
  23         of the many reasons we decided to acquire GRAIL was to accelerate
             patient access to breakthrough multi-cancer early detection blood tests,
  24
             which could save tens of thousands of lives. We are committed to
  25         supporting all our customers and strongly believe that our acquisition
  26         of GRAIL is pro-competitive. We expect the acquisition to accelerate
             the early detection of cancer market as a whole. We saw a similar
  27
             dynamic play out in the noninvasive prenatal testing market where,
  28                  VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
             after Illumina’s entry, the market grew and prices decreased, making
             these important tests accessible to a much larger population of pregnant
   2
             women.
   3
             57.   On May 13, 2021, Defendant Samad attended the Bank of America
   4
       Global Research Healthcare Conference on behalf of the Company. Defendant
   5
       Samad stated, in response to a question by an analyst about why the Company chose
   6
       to acquire GRAIL:
   7

   8
             So why GRAIL? I mean it’s the single most compelling, I would say,
             application that’s going to be coming up in human health over the next,
   9
             I don’t know, how many years. But we’re talking about a $60 billion
  10         TAM, you’re talking about the potential to save lives. You’re talking
  11         about the potential to save significant costs in health care when you’re
             able to catch cancer early in stages 1 and 2 as opposed to stages 3 and
  12
             4.
  13

  14         In addition to that, we believe the profile of the Galleri product is well
             above and well beyond any other product that’s to be introduced in that
  15
             space with regards to their positive predictive value, the specificity and
  16         sensitivity of the product and the number of clinical trials that have been
  17         undergone in that space to prove that out. So that’s why GRAIL and
  18         why now. I mean we think there’s tremendous momentum in this
             market where we want to participate more directly in that clinical
  19
             ecosystem.
  20

  21         58.   Then on July 13, 2021, it was revealed that the European Union was
  22   demanding concessions from the Company in connection with the European
  23   Commission’s decision to review the Company’s acquisition of GRAIL. On this
  24   news, the Company’s stock price fell $22.60 per share, or approximately 4.7%, to
  25   close at $460.92 on July 14, 2021.
  26

  27

  28                  VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1           59.   On July 22, 2021, following its preliminary investigation, the EC
   2   opened an “in-depth investigation into the proposed transaction.”3 The EC stated
   3   that:
   4

   5
               Following its preliminary investigation, the Commission has concerns
               about the impact of the transaction on the development and supply of
   6           NGS-based cancer detection tests. The Commission is concerned that,
   7           as a result of its combination with GRAIL, Illumina could engage in
               vertical input foreclosure strategies given its leading position in the
   8           NGS systems that are crucial inputs for the development and
   9           commercialisation of NGS-based cancer detection tests. The
               preliminary investigation suggests that Illumina could have the ability
  10           to engage in these foreclosure strategies given its leading position in
  11           NGS systems and that Illumina could have an economic incentive to
               foreclose GRAIL’s rivals.
  12

  13           60.   However, the Individual Defendants once again chose to double down
  14   on the Company’s reasons for acquiring GRAIL and the benefits associated
  15   therewith. The Company held an earnings call for the second quarter of 2021 on
  16   August 5, 2021 (the “2Q21 Earnings Call”). In the 2Q21 Earnings Call, Defendant
  17   deSouza, when asked about the Company’s acquisition of GRAIL and the issues
  18   encountered in the process, stated:
  19
               We continue to believe that this deal is procompetitive. We continue to
  20           believe that this deal will result in the savings of tens of thousands of
  21           lives that would not be saved if we didn’t buy GRAIL just simply
  22           because we can accelerate the business. So to answer the question, we

  23

  24

  25
       3
        European Commission, Mergers: Commission opens in-depth investigation into
       proposed acquisition of GRAIL by Illumina (July 22, 2021) (PRESS RELEASE),
  26
       https://ec.europa.eu/commission/presscorner/detail/en/IP 21 3844 (Last accessed
  27   Mar. 8, 2024).
  28                    VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
             are committed to working through this deal through that time frame
             through the end of the year.
   2

   3         61.    Then, on August 18, 2021, in the face of the pending FTC litigation,
   4   ongoing EC investigations, and the standstill obligations under European law,
   5   certain of the Individual Defendants caused the Company to complete the acquisition
   6   of GRAIL, which was announced via a press release. On this news, the Company’s
   7   stock price fell $40.25 per share, or approximately 7.9%, to close at $470.36 on
   8   August 19, 2021.
   9         62.    The closing of the GRAIL acquisition in violation of EU law, however,
  10   was condemned by European regulators. The EC’s Executive Vice President,
  11   Margrethe Vestager, stated:
  12
             We deeply regret Illumina’s decision to complete its acquisition of
  13
             GRAIL, while our investigation into the transaction is still ongoing.
  14
             Companies have to respect our competition rules and procedures.
  15
             Under our ex-ante merger control regime companies must wait for our
  16         approval before a transaction can go ahead. This obligation, that we call
             standstill obligation, is at the heart of our merger control system and we
  17
             take its possible breaches very seriously. This is why we have decided
  18         to immediately start an investigation to assess whether Illumina’s
             decision constitutes a breach of this important obligation.
  19

  20
             63.    Following this, the EC opened an additional investigation “to assess
  21
       whether Illumina’s decision to complete its acquisition of GRAIL, while the
  22
       Commission’s in-depth investigation into the proposed transaction is still ongoing,
  23
       constitutes a breach of the “standstill obligation” under Article 7 of the Merger
  24
       Regulation.” The EC further stated that “[t]he Commission can impose fines on
  25
       companies that, either intentionally or negligently, breach the standstill obligation
  26

  27

  28                  VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   which may reach up to 10% of the companies’ aggregate turnover, pursuant to
   2   Article 14 of the Merger Regulation.”4
   3         64.   Despite this, the Individual Defendants continued to mislead the public
   4   about the reasons for the Company’s acquisition of GRAIL. For instance, on
   5   September 13, 2021, Defendant deSouza attended the Morgan Stanley Global
   6   Healthcare Conference on behalf of Illumina, where, in response to a question about
   7   Illumina’s reasons for acquiring GRAIL, Defendant deSouza stated:
   8
             In addition to the considerations around shareholder value and making
   9         sure we’re doing the move that long term maximizes shareholder value,
  10         we also felt a moral obligation to close the deal because the potentially
  11
             life savings, the savings life associated with doing this deal are so
             substantial. By accelerating GRAIL in terms of its global distribution
  12
             and the accessibility of the tests globally, we will save many thousands
  13         of lives by getting this test into the hands of more people and making it
  14         more affordable than GRAIL would do on their own. And so, there was
             a moral element here, too, by saying in addition to creating long-term
  15
             shareholder value, we have an obligation to have this deal reviewed and
  16         get to a decision because of the life-saving potential of doing this deal.
  17         And so all those considerations came together and that’s how we made
             the decision.
  18

  19
             65.   On September 20, 2021, the EC issued a further press release which
  20
       announced that the “European Commission has sent a Statement of Objections to
  21
       Illumina and GRAIL informing them of the interim measures it intends to adopt
  22

  23

  24
       4
        European Commission, Mergers: Commission starts investigation for possible
  25
       breach of the standstill obligation in Illumina / GRAIL transaction (Aug. 20, 2021)
       (PRESS RELEASE),
  26
       https://ec.europa.eu/commission/presscorner/detail/en/ip 21 4322 (Last accessed
  27   Mar. 8, 2024).
  28                  VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   following the companies’ alleged breach of the standstill obligation under the EU
   2   Merger Regulation.”5 The EC further stated:
   3

   4
             Under our rules, companies have to wait for the Commission’s
             clearance before implementing deals that are subject to our review. The
   5         standstill obligation is a cornerstone of our ex-ante merger control
   6         regime which aims at preventing harmful effects to competition while
             our review is ongoing. This is the first time companies openly
   7         implement their deal while we are carrying out an in-depth
   8         investigation. Today, we send our objections to the companies
             informing them of the measures we intend to take to prevent the
   9         potentially detrimental impact of the transaction on the competitive
  10         structure of the market.

  11                                           ***
  12
             In today’s Statement of Objections, the Commission takes the
  13         preliminary view that, by closing their deal, Illumina and GRAIL
  14         breached the standstill obligation and that interim measures to restore
             or maintain effective competition are appropriate in this case.
  15

  16         This is the first time the Commission intends to adopt interim
             measures following an unprecedented early implementation of a
  17         concentration it is investigating. The interim measures aim to prevent
  18         the potentially irreparable detrimental impact of the transaction on
             competition, as well as possible irreversible integration of the merging
  19         parties, pending the outcome of the Commission’s merger
  20         investigation.
  21         The envisaged interim measures take note of Illumina’s own unilateral
  22         proposal to hold GRAIL separate, but go beyond Illumina’s proposal in
  23

  24
       5
        European Commission, Mergers: The Commission adopts a Statement of
  25
       Objections in view of adopting interim measures following Illumina’s early
       acquisition of GRAIL (Sep. 20, 2021) (PRESS RELEASE),
  26
       https://ec.europa.eu/commission/presscorner/detail/en/ip 21 4804 (Last accessed
  27   Mar. 8, 2024).
  28                  VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
             addressing a number of serious shortcomings identified in that
             proposal.
   2

   3   (Emphasis added).

   4
             66.    Then, on October 29, 2021, it was revealed that the EC ordered the
   5
       Company to adopt interim measures to ensure that the Company and GRAIL were
   6
       kept separate and run by independent managers. The EC stated that “[t]his is the first
   7
       time the Commission adopts interim measures following an unprecedented early
   8
       implementation of a concentration” and that the measures “aim to prevent the
   9
       potentially detrimental impact of the transaction on competition.” Such interim
  10
       measures included:6
  11

  12          GRAIL shall be kept separate from Illumina and be run by (an)
  13           independent Hold Separate Manager(s), exclusively in the interest
               of GRAIL (and not of Illumina).
  14

  15          Illumina and GRAIL are prohibited from sharing confidential
               business information, except where the disclosure is required to
  16           comply with the law or in line with the ordinary course of their
  17           supplier-customer relationship.
  18
              Illumina has the obligation to finance additional funds necessary for
  19           the operation and development of GRAIL.
  20
              The business interactions between the parties shall be undertaken at
  21           arm’s length, in line with industry practice, hence without unduly
               favouring GRAIL to the detriment of its competitors.
  22

  23

  24
       6
        European Commission, Mergers: Commission adopts interim measures to prevent
  25
       harm to competition following Illumina’s early acquisition of GRAIL (Oct. 29,
       2021) (PRESS RELEASE),
  26
       https://ec.europa.eu/commission/presscorner/detail/en/ip 21 5661 (Last accessed
  27   Mar. 8, 2024).
  28                  VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
              GRAIL shall actively work on alternative options to the transaction
   2           to prepare for the possible scenario in which the deal would have to
   3           be undone in case the Commission were to declare the transaction
               incompatible with the internal market.
   4

   5         67.    The EC, in announcing these interim measures, further stated: “The
   6   measures are legally binding on both Illumina and GRAIL. The measures will be
   7   applicable during an interim period, pending the final outcome of the Commission’s
   8   in-depth merger investigation. Their compliance will be closely monitored by a
   9   Monitoring Trustee to be approved by the Commission. Should the parties fail to
  10   comply with any of the measures, they would face the risk of penalty payments of
  11   up to 5% of their average daily turnover and/or fines of up to 10% of their annual
  12   worldwide turnover under Articles 15 and 14 of the EU Merger Regulation
  13   respectively.”
  14         68.    However, the Individual Defendants again touted the benefits of the
  15   acquisition to shareholders. On November 4, 2021, the Company held its earnings
  16   call for the third quarter of 2021 for investors and analysts (the “3Q21 Earnings
  17   Call”). In the 3Q21 Earnings Call, Defendant deSouza stated “[i]n August, we closed
  18   our acquisition [of GRAIL], which we believe we believe will help accelerate patient
  19   access and affordability for multi-cancer early detection screening.”
  20         69.    Furthermore, in the 3Q21 Earnings Call, Defendant deSouza, in
  21   response to a question about the future of GRAIL’s revenue performance given the
  22   regulatory investigations, stated:
  23
             But what we want to do is make sure that GRAIL continues to create
  24
             value because what that means is that no matter what scenario plays out
  25         in the event that we get done and we have GRAIL and we can grow it,
  26         that’s a huge, huge success, obviously, and hugely valuable for our
             shareholders. But we know that if we create a lot of value in GRAIL,
  27
             then no matter what the regulatory outcome is, it’s still a big win, not
  28                    VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
              only for people who are getting screened but also for our shareholders
              because we’ll have an asset significantly appreciated. And even if you
   2
              look at the progress that’s been made at GRAIL since we announced
   3          the deal, right? So since we announced the deal, they’ve published some
   4          of their study results. They have launched a product on the schedule
              they set in June. They have initiated -- not only signed the NHS deal
   5
              but started the rollout to 140,000 customers and signed up some other
   6          healthcare systems and employers in the U.S. So it’s clear the business
   7          has created significant value from maybe 12, 15 months ago when we
              announced the deal.
   8

   9
              70.   On May 12, 2022, Defendant Samad attended the Bank of America
  10
       Healthcare Conference on behalf of the Company, where he touted the benefits of
  11
       Illumina’s acquisition of GRAIL to shareholders and analysts. Defendant Samad
  12
       stated that the GRAIL test “and other revenue from GRAIL could potentially be
  13
       even larger than our core business . . . that’s how transformational this product is.”
  14
              71.   Then, on September 6, 2022, the European Commission announced that
  15
       it completed its review of the Company’s acquisition of GRAIL and that it had
  16
       “prohibited, under the EU Merger Regulation, the implemented acquisition of
  17
       GRAIL by Illumina.” The EC’s Executive Vice President, Margrethe Vestager,
  18
       stated:7
  19

  20          Today we prohibited Illumina’s implemented acquisition of GRAIL. In
              a race with other companies, GRAIL is developing a blood-based early
  21          cancer detection test. If successful, these tests will revolutionise our
  22          fight against cancer and help to save millions of lives. Illumina is
              currently the only credible supplier of a technology allowing to develop
  23

  24

  25
       7
         European Commission, Mergers: Commission prohibits acquisition of GRAIL by
       Illumina (Sep. 6, 2022) (PRESS RELEASE),
  26
       https://ec.europa.eu/commission/presscorner/detail/en/ip 22 5364 (Last accessed
  27   Mar. 8, 2024).
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
              and process these tests. With this transaction, Illumina would have an
              incentive to cut off GRAIL’s rivals from accessing its technology, or
   2          otherwise disadvantage them. It is vital to preserve competition
   3          between early cancer detection test developers at this critical stage of
              development. As Illumina did not put forward remedies that would have
   4          solved our concerns, we prohibited the merger.
   5
              72.       On the same day, the Company issued a press release, stating that it was
   6
       “disappointed with the European Commission’s decision” and again touted the
   7
       benefits of the acquisition, stating that “[t]he merger of Illumina and GRAIL would
   8
       usher in a transformational phase in the detection and treatment of cancer by
   9
       facilitating equal and affordable access to the life-saving early cancer detection
  10
       Galleri test.”
  11
              73.       On October 3, 2022, the Company held its annual “Investor Day”
  12
       meeting for investors and analysts, where Defendant deSouza stated, “we believe
  13
       Illumina’s acquisition of GRAIL can have lifesaving benefits for people who have
  14
       cancer and don’t know about it. And we also believe it creates long-term shareholder
  15
       value for Illumina’s shareholders, which is why we did the deal.”
  16
              74.       On October 28, 2022, the EC announced that it was renewing the
  17
       interim measures imposed on the Company on September 6, 2021, which “provide
  18
       that: (i) GRAIL shall be kept separate from Illumina and be run by independent Hold
  19
       Separate Managers, exclusively in the interest of GRAIL (and not of Illumina); (ii)
  20
       Illumina and GRAIL are prohibited from sharing confidential business information,
  21
       subject to very limited exceptions and safeguards; (iii) Illumina has the obligation to
  22
       provide the funds necessary for the operation of GRAIL and the development of its
  23
       pipeline cancer detection tests; (iv) the business interactions between the parties
  24
       shall be at arm’s length, in line with industry practice, without unduly favouring
  25

  26

  27

  28                      VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   GRAIL to the detriment of its competitors; and (v) Illumina and GRAIL shall
   2   actively work to prepare for a potential order to unwind the transaction.” 8
   3         75.      Then, on December 5, 2022, the EC sent a Statement of Objections to
   4   Illumina and GRAIL outlining the restorative measures it intended to adopt, “which
   5   include: (a) the divestment measures that the Commission considers Illumina must
   6   implement to unwind the transaction with GRAIL and (b) the transitional
   7   measures that Illumina and GRAIL need to comply with until Illumina has
   8   dissolved the transaction.”9 The EC went on to specifcy:
   9
             Specifically, the divestment measures must be implemented in line
  10         with the following principles:
  11
                  First, the dissolution of the transaction must restore GRAIL’s
  12               independence from Illumina, to the same level that GRAIL had
                   prior to the completion of the transaction.
  13
                  Second, GRAIL must be as viable and competitive after the
  14               divestment as it was before Illumina’s acquisition, to ensure that the
                   innovation race between GRAIL and its rivals can continue as
  15
                   before.
  16              Finally, the divestment must be executable swiftly and with
                   sufficient certainty, so that the pre-transaction situation can be
  17
                   restored promptly.
  18

  19
       8
         European Commission, Mergers: Commission renews interim measures to ensure
  20
       Illumina and GRAIL continue to be kept separate following the prohibition
  21   decision (Oct. 28, 2022) (DAILY NEWS),
  22   https://ec.europa.eu/commission/presscorner/detail/en/mex_22_6467 (Last
  23   accessed Mar. 8, 2024).

  24
       9
        European Commission, Mergers: The Commission adopts a Statement of
  25
       Objections outlining measures to unwind Illumina’s blocked acquisition of GRAIL
       (Dec. 5, 2022) (PRESS RELEASE),
  26
       https://ec.europa.eu/commission/presscorner/detail/en/IP 22 7403 (Last accessed
  27   Mar. 8, 2024).
  28                     VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
             As regards the envisaged transitional measures:

   2              They will ensure that Illumina and GRAIL remain
                   separate until the transaction is unwound in order to prevent further
   3
                   integration of GRAIL into Illumina’s business and subsequently
   4               irreparable harm to competition.
                  They also oblige Illumina to maintain GRAIL’s viability.
   5
                  They will replace the interim measures adopted by the
   6               Commission on 28 October 2022 and that are currently in force.
   7
                                               ***
   8
             In case of non-compliance, the Commission is empowered to impose
   9         periodic penalty payments. Moreover, companies failing to comply
             with interim measures can be fined up to 10% of their annual worldwide
  10
             turnover under Article 14 of the EU Merger Regulation.
  11
       (Emphasis in original)
  12

  13         76.      On February 17, 2023, the Company filed its annual report for the fiscal
  14   year ended January 1, 2023 on a Form 10-K with the SEC (the “2023 10-K”), which
  15   stated that “[w]e believe our acquisition of GRAIL will accelerate the adoption of
  16   next-generation sequencing (NGS) based early multi-cancer detection tests, enhance
  17   our position in Clinical Genomics, and increase our directly accessible total
  18   addressable market.” The 2023 10-K was signed by Defendants deSouza, Goswami,
  19   Thompson, Arnold, Dorsa, Epstein, Gottlieb, Guthart, Schiller, and Siegel.
  20         77.      On April 3, 2023, the FTC announced that it issued an order and opinion
  21   requiring the Company to divest GRAIL.
  22         78.      Then, on April 24, 2023, an article was posted on Nongaap Investing,
  23   stating that the Company insiders received a financial windfall “in excess of $500
  24   million” from the spinoff and reacquisition of GRAIL. The author of the article
  25   alleged that “up to 70 million Grail shares went to insiders, right out-of-the-gate.”
  26         79.      On April 28, 2023, Carl C. Icahn (“Icahn”), who was the beneficial
  27   owner of approximately 1.4% of the outstanding shares of the Company as of
  28                     VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   February 17, 2023, issued an open letter to Illumina shareholders. Therein, he drew
   2   attention to the “Malignant Governance” blog post and called for the Company to
   3   conduct an unbiased investigation into the issues, stating:
   4
             Additionally, we read an interesting piece recently on Illumina, entitled
   5         “Malignant Governance,” which asks the question that has been on the
   6         mind of virtually every long term shareholder with whom we have
   7
             spoken: “How much money did Illumina insiders (past and present)
             make from splitting-off and subsequently re-acquiring Grail?” We
   8
             have no idea if the allegations are true. However, based on what we do
   9         know of the past actions and lack of transparency exhibited by Illumina
  10         CEO Francis deSouza and the incumbent directors, we would not be
             surprised at all if some or all of the assertions turned out to be accurate.
  11
             We therefore implore the board to bring in an outside – and
  12         demonstrably independent – law firm and forensic accounting team to
  13         investigate and address these questions publicly, with enough time prior
             to the upcoming annual meeting to allow shareholders to take the results
  14
             into account when casting their votes for directors. We believe that an
  15         unbiased investigation into these murky issues is necessary and
  16         appropriate, given the fact that the director election will in effect be a
  17         referendum on the entire GRAIL fiasco. Unfortunately, we believe that
             we will see pigs fly before we see such an investigation conducted by
  18
             this board.
  19
             80.    In the May 1, 2023 letter, Carl Icahn also called for the Company to
  20
       replace three of its directors with new “more qualified, independent” directors.
  21
             81.    In response, also on May 1, 2023, the Company issued a press release
  22
       and shareholder letter in connection with the annual stockholder meeting to be held
  23
       on May 25, 2023. Therein, the Company stated:10
  24

  25
             2016 GRAIL spin-out from Illumina

  26

  27   10
             Unless otherwise stated, all emphasis in bold and italics hereinafter is added.
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
            An inflammatory blog post, repeated by Icahn, incorrectly suggested
   2
            that Illumina spun out and reacquired GRAIL in order to enrich
   3        Illumina’s directors and executives. Icahn himself, however, admits
   4        “We have no idea if the allegations are true.”

   5
            The allegations are completely false.
   6

   7        The facts are as follows:
   8
                None of Illumina’s directors involved in either the decision to
   9             sign or the decision to close the GRAIL acquisition – including
  10             our former CEO and Executive Chairman Jay Flatley, our current
                 CEO Francis deSouza and each of Illumina’s current directors –
  11             has ever held any entity interests in GRAIL
  12
                At the time of Illumina’s various investment rounds in GRAIL,
  13
                 no individuals at Illumina were investors in GRAIL. Illumina’s
  14             employees, executive officers and Board members were not
                 permitted to participate in GRAIL investment rounds and did not
  15
                 otherwise receive any GRAIL equity.
  16

  17            Illumina, Inc. was the founder of GRAIL and individuals
                 employed by Illumina moved to GRAIL as part of the spin-out
  18             in 2016. Those who moved to GRAIL terminated their
  19             relationship with Illumina at the time of transition and directors
                 and employees who remained at Illumina could not invest in
  20             GRAIL nor did they receive any GRAIL equity.
  21
                No executive officers of Illumina held GRAIL shares at the
  22
                 signing or closing of the GRAIL acquisition, other than Alex
  23             Aravanis, who Illumina had hired from GRAIL, and Mostafa
                 Ronaghi, Illumina’s former CTO, who received GRAIL shares
  24
                 upon joining GRAIL’s board in May 2020. The economic
  25             interests and relationships of these individuals with GRAIL were
                 fully disclosed to, and known by, Illumina and its Board, and,
  26
                 consistent with good corporate governance practices, both were
  27

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   1
                    recused from any decisions to sign and close the GRAIL
                    acquisition.
   2

   3         82.    On May 18, 2023, the Company issued a press release in advance of the
   4   2023 stockholder meeting, which contained a letter from Defendant Thompson,
   5   stating in relevant part:
   6
             On conflicts of interest, there is an important question I would like to
   7
             put to bed: “Did any Illumina directors have a financial interest in
   8         GRAIL at the time of the acquisition?” This question is not a matter of
   9         interpretation or explanation. The answer is simply no. As we have said
             before, no director who oversaw any part of the GRAIL transaction
  10
             has ever owned any equity interest in GRAIL – that includes Jay
  11         Flatley, Francis deSouza, myself, and any member of the Board now
  12         or at the time of acquisition. In addition, no executive officers of
             Illumina held GRAIL shares at the signing or closing of the GRAIL
  13
             acquisition (including indirect ownership interests such as through
  14         trusts, LP or GP stakes in investment vehicles, or through derivative
  15         securities), other than Alex Aravanis, who Illumina had hired from
  16         GRAIL, and Mostafa Ronaghi, Illumina’s former CTO, who received
             GRAIL shares upon joining GRAIL’s Board in May 2020. The
  17
             economic interests and relationships of these individuals with GRAIL
  18         were fully disclosed to, and known by, Illumina and its Board, and,
  19         consistent with good corporate governance practices, both were recused
             from any decisions to sign and close the GRAIL acquisition. In
  20
             addition, Illumina’s Board engaged Goldman Sachs as its financial
  21         advisor in connection with the GRAIL acquisition and Goldman, acting
  22         exclusively for Illumina, delivered a customary fairness opinion to
  23
             Illumina’s Board immediately prior to Illumina entering into the
             GRAIL acquisition agreement.
  24

  25

  26

  27

  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1         83.   Then, On July 12, 2023, the EC fined Illumina and GRAIL €432 million
   2   and €1,000 respectively,11 for implementing their proposed merger before approval
   3   by the Commission, in breach of EU merger control rules.12 The EC found that:
   4

   5          Illumina strategically weighed up the risk of a gun-jumping fine
               against the risk of having to pay a high break-up fee if it failed to
   6           takeover GRAIL. It also considered the potential profits it could
   7           obtain by jumping the gun, even if it were ultimately forced to divest
               GRAIL. It then intentionally decided to proceed and to close the deal
   8           while the Commission was still investigating the transaction that
   9           was ultimately prohibited. This is a very serious infringement,
               which requires the imposition of a proportionate fine, with the aim
  10           of deterring such conduct. In setting such a fine, the Commission
  11           considered Illumina’s deliberate strategy, and took due account of
               the hold separate measures adopted by the company as a mitigating
  12           circumstance. The Commission is however subject to a statutory
  13           limit of 10% of Illumina’s turnover, i.e. approximately €432 million,
               and thus ultimately imposed this amount as a fine.
  14

  15          GRAIL was fully aware of the standstill obligation and yet played
               an active role in the infringement. For example, GRAIL took legal
  16           steps to enable the completion of the transaction, while it knew the
  17           Commission’s in-depth review was ongoing. The Commission has
               however decided to impose only a symbolic fine of €1,000 on
  18

  19

  20
       11
         EUR 1 = USD 1.1022 on July 12, 2023. European Central Bank, ECB Euro
  21   Foreign Exchange Reference Rates: US Dollar (USD),
  22   https://www.ecb.europa.eu/stats/policy_and_exchange_rates/euro_reference_excha
  23   nge rates/html/eurofxref-graph-usd.en.html (Last accessed Mar. 8, 2024).

  24
       12
         European Commission, Mergers: Commission fines Illumina and GRAIL for
  25
       implementing their acquisition without prior merger control approval (July 12,
       2023) (PRESS RELEASE),
  26
       https://ec.europa.eu/commission/presscorner/detail/en/ip 23 3773 (Last accessed
  27   Mar. 8, 2024).
  28                  VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
                      GRAIL as this is the first time it imposes a fine for gun-jumping on
                      a target company.
   2

   3   (Emphasis in original).

   4
                84.      On August 9, 2023, in a press release, the Company stated that:
   5

   6            On July 12, 2023, the European Commission imposed a €432 million
                fine due to the completion of the GRAIL acquisition during the
   7            pendency of the European Commission’s review. While expected and
   8            accrued for over the last year, Illumina believes that the fine is
                unlawful, inappropriate, and disproportionate, and is appealing the
   9            decision. Illumina plans to issue a guarantee and defer the payment of
  10            the fine pending the outcome of the appeal of the EU General Court’s
                ruling that the European Commission has jurisdiction to review the
  11            GRAIL acquisition.
  12

  13
                85.      The above statements identified were materially false and/or

  14
       misleading and failed to disclose material adverse facts about the Company’s

  15
       business, operations, and prospects. Specifically, the Individual Defendants failed

  16
       to disclose to investors: (i) that certain of the Company’s insiders had personal

  17
       financial motives for acquiring GRAIL; (ii) that, contrary to Illumina’s attempts to

  18
       discount Icahn’s criticism, Icahn had accurately concluded that insiders’ interests

  19
       did not align with the Company’s best interests; and (iii) that, as a result of the

  20
       foregoing, Defendants’ positive statements about the Company’s business,

  21
       operations, and prospects were materially misleading and/or lacked a reasonable

  22
       basis.

  23
                                   THE TRUTH FULLY EMERGES

  24
                86.      On August 10, 2023, after the market closed, the Company revealed

  25
       that the SEC was investigating the Company’s statement regarding GRAIL.

  26
       Specifically, in its Form 10-Q for the period ended July 2, 2023, Illumina stated:

  27

  28                       VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
             In July 2023, we were informed that the staff of the SEC was
             conducting an investigation relating to Illumina and was requesting
   2
             documents and communications primarily related to Illumina’s
   3         acquisition of GRAIL and certain statements and disclosures
   4         concerning GRAIL, its products and its acquisition, and related to the
             conduct and compensation of certain members of Illumina and GRAIL
   5
             management, among other things. Illumina is cooperating with the SEC
   6         in this investigation.
   7         87.      On this news, the Company’s stock price fell $4.64, or 2.5%, to close
   8   at $180.48 per share on August 11, 2023.
   9         88.      On October 12, 2023, the EC announced that it had “adopted, under the
  10   EU Merger Regulation [], restorative measures requiring Illumina to unwind its
  11   completed acquisition of GRAIL.” The EC confirmed that:
  12
             Specifically, the divestment measures must be implemented in line
  13         with the following principles:
  14
                  First, the dissolution of the transaction must restore GRAIL’s
  15               independence from Illumina to the same level enjoyed by GRAIL
  16               prior to the acquisition. Restoring GRAIL’s independence
                   will remove the harm to competition resulting from Illumina’s
  17               ability and incentive to delay or disadvantage GRAIL’s rivals.
  18              Second, GRAIL must be as viable and competitive after the
                   divestment as it was before Illumina’s acquisition. This will ensure
  19               that the innovation race between GRAIL and its rivals can continue
  20               in conditions similar to those in place before the transaction.
                  Finally, the divestment must be executable within strict
  21               deadlines and with sufficient certainty, so that the pre-transaction
  22               situation can be restored in a timely manner.

  23         Illumina can choose the appropriate divestment methods (e.g., via a
  24
             trade sale, a capital markets transaction), provided that it follows all the
             principles mentioned above. Illumina has to submit a concrete
  25         divestment plan for the disposal of GRAIL, which must be approved
  26
             by the Commission.

  27         As regards the transitional measures:
  28                    VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
                  They will ensure that Illumina and GRAIL remain separate until
                   the transaction is unwound in order to prevent further integration of
   2               GRAIL into Illumina’s business and subsequently irreparable harm
   3               to competition.
                  They also oblige Illumina to maintain GRAIL’s viability by
   4               continuing to fund GRAIL’s cash needs on an ongoing basis to
   5               allow it to further develop and launch its early cancer detection test
                   Galleri.
   6              They will replace the interim measures adopted by the
   7               Commission on 28 October 2022 and that are currently in force.

   8         In case of non-compliance with the restorative measures, the
             Commission can impose periodic penalty payments of up to 5% of the
   9
             average daily aggregate turnover of the company under Article 15
  10         EUMR. Moreover, companies failing to comply with the restorative
  11
             measures can be fined up to 10% of their annual worldwide turnover
             under Article 14 of the EUMR
  12
       (Emphasis in original).
  13

  14         89.      On October 17, 2023, Icahn filed a complaint against current and
  15   former directors of the Company, alleging direct and derivative claims of breaches
  16   of fiduciary duty. The complaint was filed under seal, but according to Reuters,
  17   Icahn “told the 13D Monitor Active-Passive Investor Summit in New York on
  18   Tuesday that the lawsuit pertained to Illumina completing its acquisition of cancer
  19   diagnostic test maker Grail.”
  20         90.      On this news, the Company’s stock price fell $7.42, or 5.6%, to close
  21   at $124.45 per share on October 18, 2023.
  22         91.      Then, on October 20, 2023, after the market closed, Icahn filed a public
  23   version of his complaint against Illumina’s insiders, alleging that “[t]he conflicted
  24   directors, poisoned by their personal stake in the matter, cannot be entrusted” with
  25   “matters of vital importance to Illumina.” The complaint states that “Illumina’s
  26   extraordinary decision to close the GRAIL Acquisition has long given rise to
  27   questions regarding whether Illumina’s directors and officers had personal financial
  28                     VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   motives for closing the deal.” The next sentence of the same paragraph is redacted
   2   from the public version of the complaint. The complaint also refers to other
   3   “Undisclosed Matters,” which are also redacted from public view. However, the
   4   complaint alleges that Illumina’s insiders “Entrench[ed] Themselves on the Board
   5   Through Misleading Disclosures and Other Machinations.”
   6         92.   On this news, the Company’s stock price fell $7.42 per share, or
   7   approximately 5.6%, to close at $124.45 per share on October 18, 2023.
   8         93.   The truth was fully revealed on November 9, 2023, when the Company
   9   filed its 3Q23 10-Q and revealed that its acquisition of GRAIL was not as beneficial
  10   as it had made it out to be, stating that the Company had taken “goodwill and
  11   intangible impairments of $821 million related to the GRAIL segment.”
  12         94.   On this news, the Company’s stock price fell $8.61 per share, or
  13   approximately 8%, to close at $98.37 per share on November 10, 2023.
  14         95.   Finally, on December 17, 2023, after the Fifth Circuit Court of Appeals
  15   issued an opinion finding that there was sufficient evidence supporting the FTC’s
  16   ruling that Illumina is required to divest GRAIL, the Company announced that it was
  17   going to divest GRAIL, with the goal of finalizing the terms of the divestment by
  18   the second quarter of 2024.13
  19                          DAMAGES TO THE COMPANY
  20   Securities Class Actions
  21         96.   On November 10, 2023, a securities class action complaint was filed in
  22   the United States District Court for the Southern District of California against the
  23

  24

  25
       13
         Federal Trade Commission, Statement Regarding Illumina’s Decision to Divest
       Grail (Dec. 18, 2023), https://www.ftc.gov/news-events/news/press-
  26
       releases/2023/12/statement-regarding-illuminas-decision-divest-grail (Last
  27   accessed Mar. 8, 2024).
  28                  VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   Company and Defendants deSouza and Thompson. The complaint alleges violations
   2   of Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange
   3   Act”), and SEC Rule 10b-5, in the case captioned: Kangas v. Illumina, Inc., et al.,
   4   Case 3:23-cv-02082-LL-MMP (S.D. Cal.) (“Kangas Action”)
   5         97.    On December 21, 2023, a securities class action complaint was filed in
   6   the United States District Court for the Southern District of California against the
   7   Company and Defendants deSouza and Thompson. The complaint alleges violations
   8   of Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange
   9   Act”), and SEC Rule 10b-5, in the case captioned: Louisiana Sheriffs’ Pension &
  10   Relief Fund v. Illumina, Inc., et al., Case 3:23-cv-02328-MMA-AHG (S.D. Cal.)
  11   (“LSPRF Action”).
  12         98.    Also on December 21, 2023, a securities class action complaint was
  13   filed in the United States District Court for the Southern District of California against
  14   the Company and Defendants deSouza and Thompson. The complaint alleges
  15   violations of Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the
  16   “Exchange Act”), and SEC Rule 10b-5, in the case captioned: Roy v. Illumina, Inc.,
  17   et al., Case 3:23-cv-02327-BEN-BGS (S.D. Cal.) (“Roy Action”).
  18         99.    As a result of the wrongs complained of herein, the Individual
  19   Defendants have subjected the Company to the significant cost of defending itself
  20   and certain of the Company’s former officers. The Company will continue to incur
  21   significant sums in relation to the above Securities Class Actions and any liability or
  22   settlement that results.
  23   Unjust Compensation
  24         100. At all relevant times, the Company paid lucrative compensation to each
  25   of the Individual Defendants. The Company paid the Individual Defendants in
  26   connection with their respective roles as officers and/or directors of the Company.
  27

  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   effects.” Then, in October 2023, the EC fined Illumina €432 million (approx. $476
   2   million) for implementing their proposed merger before approval by the
   3   Commission, in breach of EU merger control rules.
   4         104. According to the Company’s Form 10-K, filed February 17, 2023,
   5   losses in 2022 alone increased by $4.2 billion, in part due to “a legal contingency of
   6   $458 million related to a potential fine we expect the [EC] to impose related to the
   7   closing of our acquisition of GRAIL.”
   8         105. While the Company has not disclosed its exact costs incurred as a result
   9   of holding GRAIL under the EC’s hold-separate order, those costs are estimated to
  10   likely exceed $2 billion.14
  11         106. Moreover, certain of the Individual Defendants have caused the
  12   Company to challenge the EC’s determinations through appealing the EC’s assertion
  13   of jurisdiction to review the GRAIL acquisition, appealing the EC’s formal
  14   prohibition of the GRAIL acquisition, and appealing the EC’s imposition of the
  15   interim measures, including the “hold separate” order.15 Yet, not a single one of these
  16   challenges have been successful, thereby causing further harm to the Company.
  17   FTC Action
  18

  19

  20

  21

  22

  23
       14
         See Ed Hammond, Illumina CEO’s GRAIL Hunt Runs Into a Quagmire,
       Bloomberg (Apr. 5, 2023) https://www.bloomberg.com/opinion/articles/2023-04-
  24
       05/illumina-ceo-s-grail-hunt-runs-into-a-quagmire?embedded-checkout=true (Last
  25   accessed Mar. 8, 2024).
  26   15
         EU General Court Case Nos. T-277/21, T-755/21, T-709/22, T-5/23, and T-
  27   591,23; EU Court of Justice Case No. 6-611/22P.
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1         107. The FTC challenged Illumina’s GRAIL acquisition in March 2021,
   2   alleging that the deal would diminish innovation in the U.S. market for multi-cancer
   3   early detection tests while increasing prices and decreasing choices.16
   4         108. In April 2023, the FTC issued an opinion and order reversing the
   5   Administrative Law Judge’s dismissal of the proceeding and requiring Illumina to
   6   divest GRAIL.17 Then, in June 2023, Illumina petitioned the Fifth Circuit to review
   7   the Commission’s order and opinion, and the Fifth Circuit heard arguments in the
   8   case in September 2023.
   9         109. On December 15, 2023, the Fifth Circuit issued an opinion in the case
  10   finding that there was substantial evidence supporting the Commission’s ruling that
  11   the deal was anticompetitive. The Fifth Circuit vacated the Commission’s order and
  12   remanded it for further proceedings based on the standard the Commission applied
  13   when reviewing one aspect of Illumina’s rebuttal evidence. On December 17, 2023,
  14   Illumina then announced it would divest GRAIL.
  15         110. As a result of defending itself against the FTC’s challenges, and
  16   unsuccessfully challenging the FTC’s order through the Fifth Circuit, the Individual
  17   Defendants have caused additional harm to the Company.
  18   Icahn Action
  19

  20
       16
         FTC, FTC Challenges Illumina’s Proposed Acquisition of Cancer Detection Test
  21   Maker Grail (Mar. 30, 2021), https://www.ftc.gov/news-events/news/press-
  22   releases/2021/03/ftc-challenges-illuminas-proposed-acquisition-cancer-detection-
  23   test-maker-grail (Last accessed Mar. 8, 2024).

  24
       17
         FTC, FTC Orders Illumina to Divest Cancer Detection Test Maker GRAIL to
  25
       Protect Competition in Life-Saving Technology Market (Apr. 3, 2023)
       https://www.ftc.gov/news-events/news/press-releases/2023/04/ftc-orders-illumina-
  26
       divest-cancer-detection-test-maker-grail-protect-competition-life-saving (Last
  27   accessed Mar. 8, 2024).
  28                  VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1          111. On October 17, 2023, Icahn, through his partners, filed the Icahn Action
   2   against Illumina and Defendants deSouza, Thompson, Arnold, Dorsa, Epstein,
   3   Gottlieb, Guthart, Schiller, and Sigel. The Ichan Action Alleged that Illumina’s
   4   acquisition of GRAIL was wrongful and that the “[d]efendants have entrenched
   5   themselves on the Board wrongfully – and orchestrated Illumina’s widely-reported
   6   ‘crusade’ and ‘obsessive quest’ to complete Illumina’s acquisition of GRAIL.”
   7          112. As a result of the wrongs complained of herein, the Individual
   8   Defendants have subjected the Company to the significant cost of defending itself
   9   and certain of the Company’s former officers. The Company will continue to incur
  10   significant sums in relation to the Icahn Action and any liability or settlement that
  11   results.
  12   Additional Damage to the Company
  13          113. In addition to the damages specified above, the Company will also
  14   suffer further losses in relation to any internal investigations and amounts paid to
  15   lawyers, accountants, and investigators in connection thereto.
  16          114. The Company will also suffer losses in relation to the Individual
  17   Defendants’ failure to maintain adequate internal controls, including the expense
  18   involved with implementing and maintaining improved internal controls.
  19          115. The Company has also suffered, and will continue to suffer, a loss of
  20   reputation as a direct and proximate result of the Individual Defendants’ misconduct
  21   which will plague the Company’s share price going forward.
  22                            CORPORATE GOVERNANCE
  23          116. At all relevant times, the Company had in place extensive corporate
  24   governance documents imposing duties and responsibilities on its directors and
  25   officers, and additional duties on the Company’s committee members. Accordingly,
  26   each of the Individual Defendants were required to comply with the corporate
  27   governance documents, as detailed below.
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1         117. Despite the following corporate governance, the conduct of the
   2   Individual Defendants complained of herein involves a knowing and culpable
   3   violation of their obligations as directors and officers of the Company, the absence
   4   of good faith on their part, and a reckless disregard for their duties to the Company
   5   and its investors that the Individual Defendants were aware posed a risk of serious
   6   injury to the Company.
   7   Code of Conduct
   8         118. At all relevant times, the Company had in place its Code of Conduct
   9   which “applies to all of [the Company’s] employees, consultants, temporary
  10   workers, officers, and members of the Board of directors.” The Code of Conduct
  11   provides that it “is intended to promote honest and ethical conduct, compliance with
  12   applicable laws and regulations, and to ensure the protection of our business
  13   interests, including corporate assets and information.”
  14         119. In a section entitled “General Principles to Follow,” the Code of
  15   Conduct states:
  16
            Always follow these principles to make sure you are helping the
            company maintain the highest ethical standards:
  17

  18         • Comply fully with all applicable laws. When in doubt about the
  19         legality of an action, seek advice prior to proceeding.

  20
             • Know the information contained in this Code. You are expected to
  21         comply with this Code, and all policies and procedures that apply to
  22         your job responsibilities.
  23
             • Promptly complete all training activities assigned to you.
  24

  25         • Immediately report any concerns regarding possible violations of law,
  26         regulations, company policy, or this Code to your supervisor, human
             resources, or the legal department at compliance@illumina.com.
  27
             Concerns may also be anonymously reported through the Compliance
  28                  VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
                 & Fraud Prevention Hotline on the Internet through the anonymous
                 hotline link found on the Insider Corporate Compliance Homepage.
   2
                 This website offers global toll-free phone numbers where concerns may
   3             be reported.
   4
                 • Always cooperate and tell the complete truth when responding to an
   5
                 investigation or audit. Never alter or destroy records ever in response
   6             to an investigation or when an investigation is anticipated.
   7

   8             120. In a section entitled, “Compliance with the Law,” the Code of Conduct
   9   states:
                 You are required to follow high ethical standards and comply fully with
  10
                 both the spirit and the letter of all applicable laws and regulations. In
  11             particular, you must observe these standards when addressing the
  12             special requirements often associated with government transactions or
                 when dealing with government officials, representatives, or agencies
  13
                 that regulate the markets in which we do business. Whenever a law or
  14             regulation is unclear or seems to conflict with either another law or any
  15             provision of this Code or other Company policy or procedure, you
  16             should seek clarification from your supervisor. If your supervisor is
                 unable to assist, you should seek clarification from the Legal
  17
                 department.
  18

  19             121. With respect to “Public Reporting,” the Code of Conduct states:
  20             Accurate information is essential to the Company so that we can make
  21             good business decisions, and externally so that customers, investors,
  22
                 and the government can accurately assess the Company. This is why
                 we require that all of the Company’s books and records be fair,
  23
                 accurate, timely, complete, and understandable.
  24

  25             This requires that we maintain the integrity of our accounting and
                 internal control system, that all transactions are valid, accurate,
  26
                 complete and supportable, and that they are promptly recorded in the
  27             Company’s books. Our reports and documents filed with or submitted
  28                      VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
            to the Securities and Exchange Commission and the Company’s other
            public communications, shall include full, fair, accurate, timely, and
   2
            understandable disclosure. All personnel are responsible for using their
   3        best efforts to ensure that the Company meets these requirements.
   4
            Our Responsibilities
   5

   6        • Always be truthful in making any records or reports for the Company.
   7        This requires that all statements be truthful, complete, and never
            misleading or inappropriately suggestive.
   8

   9        • All records and reports of the Company must accurately reflect the
  10        truth of the underlying transaction or event. Never record false sales or
  11        shipments, understate or overstate known liabilities and assets, or defer
            recording items that should be expensed.
  12

  13        • All financial records must conform both to generally accepted
  14        accounting principles and to the Company’s systems of internal
            controls.
  15

  16        • Implement appropriate internal controls, including proper segregation
  17        of job duties, monitoring of business processes for unusual items or
  18
            activities, and limiting and controlling access to Company resources.

  19
            • Report known or suspected fraudulent, illegal, or unethical activities,
  20        including for example, misapplication or theft of funds, impropriety
  21        with respect to reporting financial transactions, forgery or alteration of
            documents, misuse of Company confidential information.
  22

  23        • Only sign documents, including contracts, that you are authorized to
  24        sign and that you believe are accurate.
  25
            • Contact the Legal department if there is any doubt about the
  26        appropriateness of document retention or destruction of records.
  27

  28                 VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1         122. In discussing “Reporting Potential Violations or Concerns,” the Code
   2   of Conduct states:
   3
             Everyone is responsible for promptly reporting any violations of
             applicable law or regulations, this Code, as well as of any Company
   4
             policies and procedures. Generally speaking, every effort will be made
   5         to maintain the confidentiality of reports about potential violations;
   6         however, depending on the circumstances, it may not be possible in all
             cases to protect the identity of the person making the report.
   7

   8   Audit Committee Charter
   9
             123. At all relevant times, the Company had in place its Audit Committee
  10
       Charter which sets forth additional duties and responsibilities for the members of the
  11
       Audit Committee – consisting of Defendants Dorsa, Guthart, and Ullem. The Audit
  12
       Committee Charter provides that the Audit Committee be to monitor and advise the
  13
       Board on: (i) the integrity of the Company’s financial statements and disclosures;
  14
       (ii) the Company’s independent registered public accounting firm’s qualifications,
  15
       independence, and performance; (iii) the performance of the Company’s internal
  16
       audit function; (iv) the adequacy and effectiveness of the Company’s internal
  17
       controls; (v) the Company’s compliance with legal and regulatory requirements; and
  18
       (vi) the processes utilized by management for identifying, evaluating, and mitigating
  19
       strategic, financial, operational, regulatory, compliance, litigation, information
  20
       security, and external risks inherent in the Company’s business.
  21
             124. The Audit Committee Charter also sets forth these specific duties, in
  22
       relevant part:
  23

  24         [] Review with management and the Company’s independent registered
             public accounting firm the annual audited financial statements,
  25
             including disclosures made in management’s discussion and analysis,
  26         and recommend to the Board whether the audited financial statements
  27         should be included in the Company’s Annual Report on Form 10-K.
  28                    VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
            [] Review with management and the Company’s independent registered
   2
            public accounting firm the quarterly reports of the Company prior to
   3        filing of such reports with the SEC, including the results of the
   4        independent registered public accounting firm’s review of the quarterly
            financial statements.
   5

   6        [] Review with management and the Company’s independent registered
   7        public accounting firm the Company’s earnings press releases as well
            as financial information and earnings guidance provided to analysts,
   8
            including the use of “pro forma” or “adjusted” non-GAAP information
   9        and its reconciliation to GAAP.
  10

  11        [] Review with management any significant changes to GAAP, SEC,
            and other accounting standards that will impact or could impact the
  12
            financial reports under review.
  13

  14        [] Review with management and the Company’s independent registered
            public accounting firm significant financial reporting issues and
  15
            judgments made in connection with the preparation of the Company’s
  16        financial statements.
  17

  18
            [] Review with management all material off-balance sheet transactions,
            arrangements, obligations (including contingent obligations) and other
  19
            relationships of the Company with unconsolidated entities or other
  20        persons that may have a material current or future effect on the
  21        Company’s financial condition, results of operations, liquidity, capital
            resources, capital reserves or significant components of revenues or
  22
            expenses.
  23

  24        [] Review with management the Company’s major financial risk
            exposures and the steps management has taken to monitor and control
  25
            such exposures, including review and approval of swap transactions
  26        (which may include the review and amendment of policies with regard
  27

  28                 VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
            to the investment of the Company’s assets or foreign exchange risk
            management).
   2

   3        [] Oversee the adequacy of the Company’s system of internal controls
   4        and review with management, the internal audit department, and the
            Company’s independent registered public accounting firm the
   5
            adequacy and effectiveness of the Company’s internal controls,
   6        including any significant deficiencies or material weaknesses in the
   7        design or operation of, and any material changes in, the Company’s
            internal controls and any special audit steps adopted in light of any
   8
            material control deficiencies, and any fraud involving management or
   9        other employees with a significant role in such internal controls.
  10        Review and discuss with management and the Company’s independent
  11        registered public accounting firm disclosure relating to the Company’s
            internal controls, the independent registered public accounting firm’s
  12
            report on the effectiveness of the Company’s internal control over
  13        financial reporting, and the required management certifications to be
  14        included in or attached as exhibits to the Company’s annual report on
            Form 10-K or quarterly report on Form 10-Q, as applicable.
  15

  16        [] Establish procedures for the receipt, retention, and treatment of
  17        complaints received by the Company regarding accounting, internal
  18
            controls, or auditing matters.

  19
            [] Oversee the Company’s compliance with SEC requirements for
  20        disclosure of accountant’s services and Audit Committee members and
  21        activities.

  22
            [] Oversee and approve material amendments to the Company’s Insider
  23        Trading Compliance Program, Insider Trading Policy, and the Charter
  24        of the Company’s Compliance Committee.
  25
            [] Review and take appropriate action with respect to any reports to the
  26        Audit Committee from legal counsel for the Company concerning any
  27        material violation of securities laws or breach of fiduciary duty or
  28                 VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
             similar violation by the Company, its subsidiaries, or any person acting
             on their behalf.
   2

   3         [] Periodically review and evaluate the processes utilized by
   4         management to identify and assign relative weights to Risks.

   5
             [] Assess the adequacy of management’s Risk assessment and
   6         mitigation processes, including with respect to insurance coverage and
   7         programs.
   8
             [] Review and assess the risk of fraud and the Company’s antifraud
   9         programs and controls.
  10
                       DUTIES OF THE DIRECTOR DEFENDANTS
  11
             125. As members of The Company’s Board, the Director Defendants were
  12
       held to the highest standards of honesty and integrity and charged with overseeing
  13
       the Company’s business practices and policies and assuring the integrity of its
  14
       financial and business records.
  15
             126. The conduct of the Director Defendants complained of herein involves
  16
       a knowing and culpable violation of their obligations as directors and officers of the
  17
       Company, the absence of good faith on their part, and a reckless disregard for their
  18
       duties to the Company and its investors that the Director Defendants were aware
  19
       posed a risk of serious injury to the Company.
  20
             127. By reason of their positions as officers and/or directors of the Company,
  21
       and because of their ability to control the business and corporate affairs of the
  22
       Company, the Director Defendants owed the Company and its investors the fiduciary
  23
       obligations of trust, loyalty, and good faith. The obligations required the Director
  24
       Defendants to use their utmost abilities to control and manage the Company in an
  25
       honest and lawful manner. The Director Defendants were and are required to act in
  26
       furtherance of the best interests of the Company and its investors.
  27

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   1         128. Each director of the Company owes to the Company and its investors
   2   the fiduciary duty to exercise loyalty, good faith, and diligence in the administration
   3   of the affairs of the Company and in the use and preservation of its property and
   4   assets. In addition, as officers and/or directors of a publicly held company, the
   5   Director Defendants had a duty to promptly disseminate accurate and truthful
   6   information with regard to the Company’s operations, finances, and financial
   7   condition, as well as present and future business prospects, so that the market price
   8   of the Company’s stock would be based on truthful and accurate information.
   9         129. To discharge their duties, the officers and directors of the Company
  10   were required to exercise reasonable and prudent supervision over the management,
  11   policies, practices, and controls of the affairs of the Company. By virtue of such
  12   duties, the officers and directors of the Company were required to, among other
  13   things:
  14               (a)     ensure that the Company complied with its legal obligations and
  15         requirements, including acting only within the scope of its legal authority and
  16         disseminating truthful and accurate statements to the SEC and investing
  17         public;
  18               (b)     conduct the affairs of the Company in an efficient, businesslike
  19         manner so as to make it possible to provide the highest quality performance
  20         of its business, to avoid wasting the Company’s assets, and to maximize the
  21         value of the Company’s stock;
  22               (c)     properly and accurately guide investors and analysts as to the true
  23         financial condition of the Company at any given time, including making
  24         accurate statements about the Company’s business prospects, and ensuring
  25         that the Company maintained an adequate system of financial controls such
  26         that the Company’s financial reporting would be true and accurate at all times;
  27               (d)     remain informed as to how the Company conducted its
  28                     VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1         operations, and, upon receipt of notice or information of imprudent or
   2         unsound conditions or practices, make reasonable inquiries in connection
   3         therewith, take steps to correct such conditions or practices, and make such
   4         disclosures as necessary to comply with federal and state securities laws;
   5               (e)     ensure that the Company was operated in a diligent, honest, and
   6         prudent manner in compliance with all applicable federal, state and local laws,
   7         and rules and regulations; and
   8               (f)     ensure that all decisions were the product of independent
   9         business judgment and not the result of outside influences or entrenchment
  10         motives.
  11         130. Each Director Defendant, by virtue of his position as a director and/or
  12   officer, owed to the Company and to its shareholders the fiduciary duties of loyalty,
  13   good faith, and the exercise of due care and diligence in the management and
  14   administration of the affairs of the Company, as well as in the use and preservation
  15   of its property and assets. The conduct of the Director Defendants complained of
  16   herein involves a knowing and culpable violation of their obligations as directors
  17   and officers of the Company, the absence of good faith on their part, and a reckless
  18   disregard for their duties to the Company and its shareholders that the Director
  19   Defendants were aware, or should have been aware, posed a risk of serious injury to
  20   the Company.
  21         131. The Director Defendants breached their duties of loyalty and good faith
  22   by causing the Company to issue false and misleading statements concerning the
  23   financial condition of the Company. As a result, the Company has expended, and
  24   will continue to expend, significant sums of money related to investigations and
  25   lawsuits and to structure settlements to resolve them.
  26            DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS
  27         132. Plaintiff brings this action derivatively in the right and for the benefit
  28                     VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   of the Company to redress injuries suffered and to be suffered as a direct and
   2   proximate result of the Individual Defendants’ breaches of fiduciary duties, gross
   3   mismanagement, and other wrongful conduct as alleged herein.
   4         133. Plaintiff is a current owner of the Company stock and has continuously
   5   been an owner of Company stock during all times relevant to the Director
   6   Defendants’ wrongful course of conduct alleged herein. Plaintiff understands his
   7   obligation to hold stock throughout the duration of this action and is prepared to do
   8   so.
   9         134. Plaintiff will adequately and fairly represent the interests of the
  10   Company and its shareholders in enforcing and prosecuting its rights and has
  11   retained counsel competent and experienced in derivative litigation.
  12         135. Because of the facts set forth herein, Plaintiff has not made a demand
  13   on the Board to institute this action against the Individual Defendants. Such a
  14   demand would be a futile and useless act because the Board is incapable of making
  15   an independent and disinterested decision to institute and vigorously prosecute this
  16   action.
  17         136. At the time this suit was filed, the Board was comprised of eleven (11)
  18   members – the Director Defendants, as defined supra, along with Non-Parties
  19   MacMillan and Thaysen (collectively the “Current Directors”). Thus, Plaintiff is
  20   required to show that a majority of the Current Directors, i.e., six (6), cannot exercise
  21   independent objective judgement about whether to bring this action or whether to
  22   vigorously prosecute this action.
  23         137. Notably, seven (7) of the eleven (11) Current Directors (Defendants
  24   Arnold, Dorsa, Epstein, Gottlieb, Guthart, Schiller, and Siegel) are conflicted and
  25   thus incapable of objectively considering a demand to sue the Individual Defendants
  26   (including themselves) because of their active roles in pursuing and completing the
  27   GRAIL acquisition, in the face of regulatory disapproval, to the detriment of the
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   Company, in breach of their fiduciary duties. Each of these seven (7) directors face
   2   a substantial likelihood of liability for the role they played and, thus, demand is futile
   3   as to each of them.
   4         138. The Director Defendants either knew or should have known of the false
   5   and misleading statements that were issued on the Company’s behalf and took no
   6   steps in a good faith effort to prevent or remedy that situation.
   7         139.       The Director Defendants (or at the very least a majority of them)
   8   cannot exercise independent objective judgment about whether to bring this action
   9   or whether to vigorously prosecute this action. For the reasons that follow, and for
  10   reasons detailed elsewhere in this complaint, Plaintiff has not made (and should be
  11   excused from making) a pre-filing demand on the Board to initiate this action
  12   because making a demand would be a futile and useless act.
  13         140.       Each of the Director Defendants approved and/or permitted the
  14   wrongs alleged herein to have occurred and participated in efforts to conceal or
  15   disguise those wrongs from the Company’s stockholders or recklessly and/or with
  16   gross negligence disregarded the wrongs complained of herein, and are therefore not
  17   disinterested parties.
  18         141.       Each of the Director Defendants authorized and/or permitted the
  19   false statements to be disseminated directly to the public and made available and
  20   distributed to shareholders, authorized and/or permitted the issuance of various false
  21   and misleading statements, and are principal beneficiaries of the wrongdoing alleged
  22   herein, and thus, could not fairly and fully prosecute such a suit even if they instituted
  23   it.
  24         142. Additionally, each of the Current Directors received payments,
  25   benefits, stock options, and other emoluments by virtue of their membership on the
  26   Board and their control of the Company.
  27

  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1
                          THE DIRECTOR DEFENDANTS ARE
                        NOT INDEPENDENT OR DISINTERESTED
   2

   3   Defendant Arnold
   4         143. Defendant Arnold has served as a Company director at all relevant
   5   times hereto. As a director, Defendant Arnold was required to, among other things:
   6   (i) ensure that the Company complied with its legal and regulatory obligations and
   7   requirements; (ii) properly and accurately guide investors and analysts as to the true
   8   financial condition of the Company at any given time; (iii) remain informed as to
   9   how the Company conducted its operations, make reasonable inquiries, and take
  10   steps to correct any improper conditions or practices; and (iv) ensure the Company
  11   was operated in a diligent, honest, and prudent manner. Despite this, Defendant
  12   Arnold failed to fulfil these duties by permitting the false and misleading statements
  13   to be made and not correcting those statements.
  14         144. As a trusted Company director, Defendant Arnold conducted little, if
  15   any, oversight of the scheme to cause the Company to make false and misleading
  16   statements, consciously disregarded her duties to monitor such controls over
  17   reporting and engagement in the scheme, and consciously disregarded her duties to
  18   protect corporate assets.
  19         145. Further, Defendant Arnold was on the Board at the time the Company
  20   entered into the agreement to acquire GRAIL on September 21, 2020 and is named
  21   as a defendant in the Icahn Action. As such, Defendant Arnold is incapable of
  22   making an independent and disinterested decision to institute and vigorously
  23   prosecute this action because she faces a substantial likelihood of liability for the
  24   misconduct alleged herein.
  25         146. Additionally, in connection with her role as a Company director,
  26   Defendant Arnold receives substantial income, having received $400,078 for 2022.
  27   Accordingly, Defendant Arnold cannot reasonably and objectively consider a
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   demand to sue the Board who control her continued compensation, including herself.
   2         147. Moreover, Defendant Arnold signed and therefore personally made the
   3   false and misleading statements contained in the 2023 10-K and faces a substantial
   4   likelihood of liability therefor.
   5         148. Defendant Arnold is neither independent nor disinterested. Any
   6   demand upon Defendant Arnold is futile and, thus, excused.
   7   Defendant Dorsa
   8         149. Defendant Dorsa has served as a Company director at all relevant times
   9   hereto. As a director, Defendant Dorsa was required to, among other things: (i)
  10   ensure that the Company complied with its legal and regulatory obligations and
  11   requirements; (ii) properly and accurately guide investors and analysts as to the true
  12   financial condition of the Company at any given time; (iii) remain informed as to
  13   how the Company conducted its operations, make reasonable inquiries, and take
  14   steps to correct any improper conditions or practices; and (iv) ensure the Company
  15   was operated in a diligent, honest, and prudent manner. Despite this, Defendant
  16   Dorsa failed to fulfil these duties by permitting the false and misleading statements
  17   to be made and not correcting those statements.
  18         150. As a trusted Company director, Defendant Dorsa conducted little, if
  19   any, oversight of the scheme to cause the Company to make false and misleading
  20   statements, consciously disregarded her duties to monitor such controls over
  21   reporting and engagement in the scheme, and consciously disregarded her duties to
  22   protect corporate assets.
  23         151. Additionally, in connection with her role as a Company director,
  24   Defendant Dorsa receives substantial income, having received $415,078 for 2022.
  25   Accordingly, Defendant Dorsa cannot reasonably and objectively consider a demand
  26   to sue the Board who control her continued compensation, including herself.
  27         152. Further, Defendant Dorsa was on the Board at the time the Company
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   entered into the agreement to acquire GRAIL on September 21, 2020 and is named
   2   as a defendant in the Icahn Action. As such, Defendant Dorsa is incapable of making
   3   an independent and disinterested decision to institute and vigorously prosecute this
   4   action because she faces a substantial likelihood of liability for the misconduct
   5   alleged herein.
   6         153. Defendant Dorsa also serves as Chair of the Audit Committee and holds
   7   additional duties by virtue thereof. In particular, Defendant Dorsa is required to
   8   oversee, inter alia: (i) the integrity of the Company’s financial statements and
   9   disclosures; (ii) the Company’s independent registered public accounting firm’s
  10   qualifications, independence, and performance; (iii) the performance of the
  11   Company’s internal audit function; (iv) the adequacy and effectiveness of the
  12   Company’s internal controls; (v) the Company’s compliance with legal and
  13   regulatory requirements; and (vi) the processes utilized by management for
  14   identifying, evaluating, and mitigating strategic, financial, operational, regulatory,
  15   compliance, litigation, information security, and external risks inherent in the
  16   Company’s business. Despite this, Defendant Dorsa failed to fulfil these additional
  17   duties by allowing the false and misleading statements to be made and also by not
  18   correcting them. Therefore, Defendant Dorsa faces a substantial likelihood of
  19   liability for her breach of fiduciary duties and any demand upon her is futile.
  20         154. Defendant Dorsa was a member of the Compensation Committee
  21   during the Relevant Period and had additional duties regarding, among other things,
  22   executive compensation. In Q1 2022, after the GRAIL acquisition, the
  23   Compensation Committee granted Defendant deSouza a special grant of stock
  24   options to “help ensure” his “retention and focus on innovation and increasing
  25   shareholder value.” This special grant contributed to the $25 million in long-term
  26   equity compensation that Defendant deSouza received from the Company in 2022,
  27   despite his continuous breaches of fiduciary duty and wrongful conduct alleged
  28                     VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   herein. Thus, Defendant Dorsa rewarded Defendant deSouza’s illegal conduct and
   2   unjustly compensated him for causing harm to the Company, in breach of her duties
   3   to the Company. Accordingly, Defendant Dorsa lacks any objective judgment and
   4   faces a likelihood of liability for breaching her duties to the Company.
   5         155. Moreover, Defendant Dorsa signed and therefore personally made the
   6   false and misleading statements contained in the 2023 10-K and faces a substantial
   7   likelihood of liability therefor.
   8         156. Defendant Dorsa is neither independent nor disinterested. Any demand
   9   upon Defendant Dorsa is futile and, thus, excused.
  10   Defendant Epstein
  11         157. Defendant Epstein has served as a Company director at all relevant
  12   times hereto. As a director, Defendant Epstein was required to, among other things:
  13   (i) ensure that the Company complied with its legal and regulatory obligations and
  14   requirements; (ii) properly and accurately guide investors and analysts as to the true
  15   financial condition of the Company at any given time; (iii) remain informed as to
  16   how the Company conducted its operations, make reasonable inquiries, and take
  17   steps to correct any improper conditions or practices; and (iv) ensure the Company
  18   was operated in a diligent, honest, and prudent manner. Despite this, Defendant
  19   Epstein failed to fulfil these duties by permitting the false and misleading statements
  20   to be made and not correcting those statements.
  21         158. As a trusted Company director, Defendant Epstein conducted little, if
  22   any, oversight of the scheme to cause the Company to make false and misleading
  23   statements, consciously disregarded his duties to monitor such controls over
  24   reporting and engagement in the scheme, and consciously disregarded his duties to
  25   protect corporate assets.
  26         159. Further, Defendant Epstein was on the Board at the time the Company
  27   entered into the agreement to acquire GRAIL on September 21, 2020 and is named
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   as a defendant in the Icahn Action. As such, Defendant Epstein is incapable of
   2   making an independent and disinterested decision to institute and vigorously
   3   prosecute this action because he faces a substantial likelihood of liability for the
   4   misconduct alleged herein.
   5         160. Additionally, in connection with his role as a Company director,
   6   Defendant Epstein receives substantial income, having received $405,078 for 2022.
   7   Accordingly, Defendant Epstein cannot reasonably and objectively consider a
   8   demand to sue the Board who control his continued compensation, including
   9   himself.
  10         161. Defendant Epstein was a member of the Compensation Committee
  11   during the Relevant Period and had additional duties regarding, among other things,
  12   executive compensation. In Q1 2022, after the GRAIL acquisition, the
  13   Compensation Committee granted Defendant deSouza a special grant of stock
  14   options to “help ensure” his “retention and focus on innovation and increasing
  15   shareholder value.” This special grant contributed to the $25 million in long-term
  16   equity compensation that Defendant deSouza received from the Company in 2022,
  17   despite his continuous breaches of fiduciary duty and wrongful conduct alleged
  18   herein. Thus, Defendant Epstein rewarded Defendant deSouza’s illegal conduct and
  19   unjustly compensated him for causing harm to the Company, in breach of her duties
  20   to the Company. Accordingly, Defendant Epstein lacks any objective judgment and
  21   faces a likelihood of liability for breaching his duties to the Company.
  22         162. Moreover, Defendant Epstein signed and therefore personally made the
  23   false and misleading statements contained in the 2023 10-K and faces a substantial
  24   likelihood of liability therefor.
  25         163. Defendant Epstein is neither independent nor disinterested. Any
  26   demand upon Defendant Epstein is futile and, thus, excused.
  27   Defendant Gottlieb
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1         164. Defendant Gottlieb has served as a Company director at all relevant
   2   times hereto. As a director, Defendant Gottlieb was required to, among other things:
   3   (i) ensure that the Company complied with its legal and regulatory obligations and
   4   requirements; (ii) properly and accurately guide investors and analysts as to the true
   5   financial condition of the Company at any given time; (iii) remain informed as to
   6   how the Company conducted its operations, make reasonable inquiries, and take
   7   steps to correct any improper conditions or practices; and (iv) ensure the Company
   8   was operated in a diligent, honest, and prudent manner. Despite this, Defendant
   9   Gottlieb failed to fulfil these duties by permitting the false and misleading statements
  10   to be made and not correcting those statements.
  11         165. As a trusted Company director, Defendant Gottlieb conducted little, if
  12   any, oversight of the scheme to cause the Company to make false and misleading
  13   statements, consciously disregarded his duties to monitor such controls over
  14   reporting and engagement in the scheme, and consciously disregarded his duties to
  15   protect corporate assets.
  16         166. Further, Defendant Gottlieb was on the Board at the time the Company
  17   entered into the agreement to acquire GRAIL on September 21, 2020 and is named
  18   as a defendant in the Icahn Action. As such, Defendant Gottlieb is incapable of
  19   making an independent and disinterested decision to institute and vigorously
  20   prosecute this action because he faces a substantial likelihood of liability for the
  21   misconduct alleged herein.
  22         167. Additionally, in connection with his role as a Company director,
  23   Defendant Gottlieb receives substantial income, having received $385,078 for 2022.
  24   Accordingly, Defendant Gottlieb cannot reasonably and objectively consider a
  25   demand to sue the Board who control his continued compensation, including
  26   himself.
  27         168. Moreover, Defendant Gottlieb signed and therefore personally made
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   the false and misleading statements contained in the 2023 10-K and faces a
   2   substantial likelihood of liability therefor.
   3         169. Defendant Gottlieb is neither independent nor disinterested. Any
   4   demand upon Defendant Gottlieb is futile and, thus, excused.
   5   Defendant Guthart
   6         170. Defendant Guthart has served as a Company director at all relevant
   7   times hereto. As a director, Defendant Guthart was required to, among other things:
   8   (i) ensure that the Company complied with its legal and regulatory obligations and
   9   requirements; (ii) properly and accurately guide investors and analysts as to the true
  10   financial condition of the Company at any given time; (iii) remain informed as to
  11   how the Company conducted its operations, make reasonable inquiries, and take
  12   steps to correct any improper conditions or practices; and (iv) ensure the Company
  13   was operated in a diligent, honest, and prudent manner. Despite this, Defendant
  14   Guthart failed to fulfil these duties by permitting the false and misleading statements
  15   to be made and not correcting those statements.
  16         171. As a trusted Company director, Defendant Guthart conducted little, if
  17   any, oversight of the scheme to cause the Company to make false and misleading
  18   statements, consciously disregarded his duties to monitor such controls over
  19   reporting and engagement in the scheme, and consciously disregarded his duties to
  20   protect corporate assets.
  21         172. Additionally, in connection with his role as a Company director,
  22   Defendant Guthart receives substantial income, having received $410,078 for 2022.
  23   Accordingly, Defendant Guthart cannot reasonably and objectively consider a
  24   demand to sue the Board who control his continued compensation, including
  25   himself.
  26         173. Further, Defendant Guthart was on the Board at the time the Company
  27   entered into the agreement to acquire GRAIL on September 21, 2020 and is named
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   as a defendant in the Icahn Action. As such, Defendant Guthart is incapable of
   2   making an independent and disinterested decision to institute and vigorously
   3   prosecute this action because he faces a substantial likelihood of liability for the
   4   misconduct alleged herein.
   5         174. Defendant Guthart also serves as a member of the Audit Committee and
   6   holds additional duties by virtue thereof. In particular, Defendant Guthart is required
   7   to oversee, inter alia: (i) the integrity of the Company’s financial statements and
   8   disclosures; (ii) the Company’s independent registered public accounting firm’s
   9   qualifications, independence, and performance; (iii) the performance of the
  10   Company’s internal audit function; (iv) the adequacy and effectiveness of the
  11   Company’s internal controls; (v) the Company’s compliance with legal and
  12   regulatory requirements; and (vi) the processes utilized by management for
  13   identifying, evaluating, and mitigating strategic, financial, operational, regulatory,
  14   compliance, litigation, information security, and external risks inherent in the
  15   Company’s business. Despite this, Defendant Guthart failed to fulfil these additional
  16   duties by allowing the false and misleading statements to be made and also by not
  17   correcting them. Therefore, Defendant Guthart faces a substantial likelihood of
  18   liability for his breach of fiduciary duties and any demand upon him is futile.
  19         175. Defendant Guthart was a member of the Compensation Committee
  20   during the Relevant Period and had additional duties regarding, among other things,
  21   executive compensation. In Q1 2022, after the GRAIL acquisition, the
  22   Compensation Committee granted Defendant deSouza a special grant of stock
  23   options to “help ensure” his “retention and focus on innovation and increasing
  24   shareholder value.” This special grant contributed to the $25 million in long-term
  25   equity compensation that Defendant deSouza received from the Company in 2022,
  26   despite his continuous breaches of fiduciary duty and wrongful conduct alleged
  27   herein. Thus, Defendant Guthart rewarded Defendant deSouza’s illegal conduct and
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   unjustly compensated him for causing harm to the Company, in breach of her duties
   2   to the Company. Accordingly, Defendant Guthart lacks any objective judgment and
   3   faces a likelihood of liability for breaching his duties to the Company.
   4         176. Moreover, Defendant Guthart signed and therefore personally made the
   5   false and misleading statements contained in the 2023 10-K and faces a substantial
   6   likelihood of liability therefor.
   7         177. Defendant Guthart is neither independent nor disinterested. Any
   8   demand upon Defendant Guthart is futile and, thus, excused.
   9   Defendant Schiller
  10         178. Defendant Schiller has served as a Company director at all relevant
  11   times hereto. As a director, Defendant Schiller was required to, among other things:
  12   (i) ensure that the Company complied with its legal and regulatory obligations and
  13   requirements; (ii) properly and accurately guide investors and analysts as to the true
  14   financial condition of the Company at any given time; (iii) remain informed as to
  15   how the Company conducted its operations, make reasonable inquiries, and take
  16   steps to correct any improper conditions or practices; and (iv) ensure the Company
  17   was operated in a diligent, honest, and prudent manner. Despite this, Defendant
  18   Schiller failed to fulfil these duties by permitting the false and misleading statements
  19   to be made and not correcting those statements.
  20         179. As a trusted Company director, Defendant Schiller conducted little, if
  21   any, oversight of the scheme to cause the Company to make false and misleading
  22   statements, consciously disregarded his duties to monitor such controls over
  23   reporting and engagement in the scheme, and consciously disregarded his duties to
  24   protect corporate assets.
  25         180. Further, Defendant Schiller was on the Board at the time the Company
  26   entered into the agreement to acquire GRAIL on September 21, 2020 and is named
  27   as a defendant in the Icahn Action. As such, Defendant Schiller is incapable of
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   making an independent and disinterested decision to institute and vigorously
   2   prosecute this action because he faces a substantial likelihood of liability for the
   3   misconduct alleged herein.
   4         181. Additionally, in connection with his role as a Company director,
   5   Defendant Schiller receives substantial income, having received $395,078 for 2022.
   6   Accordingly, Defendant Schiller cannot reasonably and objectively consider a
   7   demand to sue the Board who control his continued compensation, including
   8   himself.
   9         182. Moreover, Defendant Schiller signed and therefore personally made the
  10   false and misleading statements contained in the 2023 10-K and faces a substantial
  11   likelihood of liability therefor.
  12         183. Defendant Schiller is neither independent nor disinterested. Any
  13   demand upon Defendant Schiller is futile and, thus, excused.
  14   Defendant Siegel
  15         184. Defendant Siegel has served as a Company director at all relevant times
  16   hereto. As a director, Defendant Siegel was required to, among other things: (i)
  17   ensure that the Company complied with its legal and regulatory obligations and
  18   requirements; (ii) properly and accurately guide investors and analysts as to the true
  19   financial condition of the Company at any given time; (iii) remain informed as to
  20   how the Company conducted its operations, make reasonable inquiries, and take
  21   steps to correct any improper conditions or practices; and (iv) ensure the Company
  22   was operated in a diligent, honest, and prudent manner. Despite this, Defendant
  23   Siegel failed to fulfil these duties by permitting the false and misleading statements
  24   to be made and not correcting those statements.
  25         185. As a trusted Company director, Defendant Siegel conducted little, if
  26   any, oversight of the scheme to cause the Company to make false and misleading
  27   statements, consciously disregarded her duties to monitor such controls over
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   reporting and engagement in the scheme, and consciously disregarded her duties to
   2   protect corporate assets.
   3         186. Further, Defendant Siegel was on the Board at the time the Company
   4   entered into the agreement to acquire GRAIL on September 21, 2020 and is named
   5   as a defendant in the Icahn Action. As such, Defendant Siegel is incapable of making
   6   an independent and disinterested decision to institute and vigorously prosecute this
   7   action because she faces a substantial likelihood of liability for the misconduct
   8   alleged herein.
   9         187. Additionally, in connection with her role as a Company director,
  10   Defendant Siegel receives substantial income, having received $390,078 for 2022.
  11   Accordingly, Defendant Siegel cannot reasonably and objectively consider a
  12   demand to sue the Board who control her continued compensation, including herself.
  13         188. Moreover, Defendant Siegel signed and therefore personally made the
  14   false and misleading statements contained in the 2023 10-K and faces a substantial
  15   likelihood of liability therefor.
  16         189. Defendant Siegel is neither independent nor disinterested. Any demand
  17   upon Defendant Siegel is futile and, thus, excused.
  18   Defendant Teno
  19         190. Defendant Teno has served as a Company director at all relevant times
  20   hereto. As a director, Defendant Teno was required to, among other things: (i) ensure
  21   that the Company complied with its legal and regulatory obligations and
  22   requirements; (ii) properly and accurately guide investors and analysts as to the true
  23   financial condition of the Company at any given time; (iii) remain informed as to
  24   how the Company conducted its operations, make reasonable inquiries, and take
  25   steps to correct any improper conditions or practices; and (iv) ensure the Company
  26   was operated in a diligent, honest, and prudent manner. Despite this, Defendant
  27   Teno failed to fulfil these duties by permitting the false and misleading statements
  28                     VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   to be made and not correcting those statements.
   2         191. As a trusted Company director, Defendant Teno conducted little, if any,
   3   oversight of the scheme to cause the Company to make false and misleading
   4   statements, consciously disregarded his duties to monitor such controls over
   5   reporting and engagement in the scheme, and consciously disregarded his duties to
   6   protect corporate assets.
   7         192. Additionally, in connection with his role as a Company director,
   8   Defendant Teno receives substantial income. Accordingly, Defendant Teno cannot
   9   reasonably and objectively consider a demand to sue the Board who control his
  10   continued compensation, including himself.
  11         193. Defendant Teno is neither independent nor disinterested. Any demand
  12   upon Defendant Teno is futile and, thus, excused.
  13   Defendant Ullem
  14         194. Defendant Ullem has served as a Company director at all relevant times
  15   hereto. As a director, Defendant Ullem was required to, among other things: (i)
  16   ensure that the Company complied with its legal and regulatory obligations and
  17   requirements; (ii) properly and accurately guide investors and analysts as to the true
  18   financial condition of the Company at any given time; (iii) remain informed as to
  19   how the Company conducted its operations, make reasonable inquiries, and take
  20   steps to correct any improper conditions or practices; and (iv) ensure the Company
  21   was operated in a diligent, honest, and prudent manner. Despite this, Defendant
  22   Ullem failed to fulfil these duties by permitting the false and misleading statements
  23   to be made and not correcting those statements.
  24         195. As a trusted Company director, Defendant Ullem conducted little, if
  25   any, oversight of the scheme to cause the Company to make false and misleading
  26   statements, consciously disregarded his duties to monitor such controls over
  27   reporting and engagement in the scheme, and consciously disregarded his duties to
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   protect corporate assets.
   2         196. Additionally, in connection with his role as a Company director,
   3   Defendant Ullem receives substantial income. Accordingly, Defendant Ullem
   4   cannot reasonably and objectively consider a demand to sue the Board who control
   5   his continued compensation, including himself.
   6         197. Defendant Ullem also serves as a member of the Audit Committee and
   7   holds additional duties by virtue thereof. In particular, Defendant Ullem is required
   8   to oversee, inter alia: (i) the integrity of the Company’s financial statements and
   9   disclosures; (ii) the Company’s independent registered public accounting firm’s
  10   qualifications, independence, and performance; (iii) the performance of the
  11   Company’s internal audit function; (iv) the adequacy and effectiveness of the
  12   Company’s internal controls; (v) the Company’s compliance with legal and
  13   regulatory requirements; and (vi) the processes utilized by management for
  14   identifying, evaluating, and mitigating strategic, financial, operational, regulatory,
  15   compliance, litigation, information security, and external risks inherent in the
  16   Company’s business. Despite this, Defendant Ullem failed to fulfil these additional
  17   duties by allowing the false and misleading statements to be made and also by not
  18   correcting them. Therefore, Defendant Ullem faces a substantial likelihood of
  19   liability for his breach of fiduciary duties and any demand upon him is futile.
  20         198. Defendant Ullem is neither independent nor disinterested. Any demand
  21   upon Defendant Ullem is futile and, thus, excused.
  22   Non-Party Thaysen
  23         199. Non-Party Thaysen is neither disinterested nor independent, and
  24   therefore, is incapable of considering demand because he (as its president and CEO)
  25   is an employee of the Company who derives substantially all of his income from his
  26   employment with Advance Auto Parts, making him not independent. As such, Non-
  27   Party Thaysen cannot independently consider any demand to sue himself for
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   breaching his fiduciary duties to Advance Auto Parts, because that would expose
   2   him to liability and threaten his livelihood.
   3         200. As CEO, Non-Party Thaysen also fails the Nasdaq’s bright-line
   4   independence test and cannot, therefore, be considered independent, as admitted by
   5   the Company on its Investor Relations website. As such, Non-Party Thaysen could
   6   not objectively and disinterestedly consider a demand to sue the Individual
   7   Defendants and any demand upon Non-Party Thaysen is therefore futile.
   8         201. Additionally, in connection with his role as a Company director,
   9   Defendant Thaysen receives substantial income. Non-Party Thaysen is not
  10   independent from Defendants Epstein, Gottlieb, Siegel, and Teno as they comprise
  11   the Compensation Committee and are responsible for evaluating and determining
  12   the compensation of the CEO and Executive Officers, including Non-Party Thaysen.
  13   The purpose of the Compensation Committee is to assist the Board in discharging
  14   its responsibilities related to the compensation provided by the Company to its CEO
  15   and Executive Officers.      Because of his status as an inside director, and the
  16   concomitant substantial compensation he receives, Non-Party Thaysen could not
  17   consider a demand adverse to the other Director Defendants serving on the
  18   Compensation Committee who are responsible for his financial future.
  19         202. Non-Party Thaysen is neither independent nor disinterested. Any
  20   demand upon Non-Party Thaysen is futile and, thus, excused.
  21   Demand is also Futile
  22   Due to Director Entrenchment18
  23         203. During the Relevant Period, Defendants Arnold, Dorsa, Epstein,
  24   Gottlieb, Guthart, Schiller, and Siegel (“Conflicted Directors”) sought to entrench
  25

  26   18
         Allegations made as to director entrenchment are taken from the Icahn Action and
  27   are based upon information and belief.
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   themselves as directors to assert complete control over Illumina’s strategy and
   2   disclosures regarding GRAIL and the acquisition.
   3         204. In January 2023, Illumina renewed a $750 loan from Bank of America
   4   which included a “Change in Control” provision which triggers an event of default
   5   if the board is removed or replaced in any two-year period without approval of the
   6   incumbent Board. Such a provision is often recognized as an entrenchment device
   7   due to its effect on proxy challenges. The loan was disclosed on January 4, 2023 via
   8   an 8-K filing with the SEC, but the Change of Control provision is buried in the 156-
   9   page agreement without comment.
  10         205. Further, from March 2023 through May 2023, certain of the Individual
  11   Defendants issued a series of false and misleading statements in twenty-three (23)
  12   SEC filings (the “2023 Proxy Filings”) in an attempt to secure re-election to the
  13   Board.
  14         206. On April 20, 2023, five weeks before the 2023 shareholder vote, certain
  15   of the Individual Defendants pre-emptively announced their intention to propose the
  16   addition of two (2) new directors to the Board at some point in the future. Then, on
  17   June 1, 2023, after Defendant Thompson was voted off the Board, certain of the
  18   Individual Defendants voted to increase the size of the Board from nine (9) to eleven
  19   (11) members and elected Defendant Ullem and Non-Party MacMillan.
  20         207. Further, following the announcement of the GRAIL acquisition, certain
  21   of the Individual Defendants touted the “compelling” reasons to re-unite GRAIL and
  22   Illumina, describing the closing as a “moral obligation.” For example, in an August
  23   18, 2021 press release approved by one or more of the Individual Defendants,
  24   Illumina claimed that “The deal will save lives.” Yet, despite acknowledging the EC
  25   investigation,” the press release failed to disclose material information. Moreover,
  26   on May 12, 2023, a supplement to the Company’s proxy was issued which asserted
  27   that certain of the Individual Defendants had engaged in “a rigorous, comprehensive
  28                  VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   process in deciding to close the acquisition of GRAIL,” that the “process was
   2   informed by external experts,” and that their “decisions were informed by legal and
   3   regulatory external advice from EU, U.S., and UK counsel.”
   4         208. These statements and actions, made and/or approved by the Conflicted
   5   Directors (as well as certain other Individual Defendants), aggressively touted the
   6   benefits of the GRAIL acquisition while failing to disclose certain material
   7   information to shareholders and the investing public in an effort to improperly close
   8   the GRAIL acquisition and entrench themselves in the Company, with complete
   9   disregard for the well-being of Illumina.
  10         209. Furthermore, upon information and belief, the Conflicted Directors
  11   may have indirectly benefitted financially from the GRAIL acquisition. In such
  12   event, which at this time is only known to the Conflicted Defendants, each of the
  13   Conflicted Defendants would face a substantial likelihood of liability and could not
  14   objectively consider a demand to prosecute this action.19
  15         210. As such, the Conflicted Directors each face a substantial likelihood of
  16   liability and are, in any event, incapable of independently and disinterestedly
  17   considering a demand in this Action, or pursuing the claims alleged herein on behalf
  18   of the Company, and demand is futile as to each of them.
  19   Additional Reasons Demand is Futile
  20         211. The Company has been and will continue to be exposed to significant
  21   losses due to the wrongdoing complained of herein, yet the Current Directors have
  22   not caused the Company to take action to recover for the Company the damages it
  23   has suffered and will continue to suffer thereby.
  24         212. The Company, at all material times, had its Code of Conduct, Business
  25

  26
        See Icahn Partners LP, et al. v. deSouza, et al., C.A. No. 2023-1045-PAF (Del.
       19

  27   Ch.) (Compl., at ¶ 91).
  28                  VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   Code, and related corporate governance policies which required each of the
   2   Individual Defendants to maintain the highest standards of honesty and integrity,
   3   particularly in relation to accurate and truthful public disclosures. Yet, despite this
   4   Code of Conduct and other relevant policies and committee charters, each of the
   5   Director Defendants failed to ensure that the Company upheld high standards of
   6   integrity, misrepresented facts to the investing public, and failed to report any
   7   concerns, or investigate any misconduct, let alone commence litigation against the
   8   Individual Defendants.
   9         213. In violation of the Code of Conduct, the Director Defendants conducted
  10   little, if any, oversight of the Company’s engagement in the Individual Defendants’
  11   scheme to cause the Company to issue materially false and misleading statements to
  12   the public and to facilitate and disguise the Defendants’ violations of law, including
  13   breaches of fiduciary duty, waste of corporate assets, and unjust enrichment. In
  14   violation of the Code of Conduct, the Director Defendants failed to comply with
  15   laws and regulations, failed to maintain the accuracy of company records, public
  16   reports, and communications, and failed to uphold the responsibilities related
  17   thereto. Thus, the Director Defendants face a substantial likelihood of liability and
  18   demand is futile as to them.
  19         214. The Current Directors received, and continue to receive, substantial
  20   salaries, bonuses, payments, benefits, and other emoluments by virtue of their
  21   membership on the Board. They have benefitted from the wrongs alleged herein and
  22   have engaged therein to preserve their positions of control and the prerequisites
  23   thereof and are incapable of exercising independent objective judgment in deciding
  24   whether to bring this action.
  25         215. The Director Defendants’ conduct described herein and summarized
  26   above could not have been the product of legitimate business judgment as it was
  27   based on bad faith and intentional, reckless, or disloyal misconduct. Thus, none of
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1   the Director Defendants can claim exculpation from their violations of duty pursuant
   2   to the Company’s charter (to the extent such a provision exists). As a majority of the
   3   Current Directors face a substantial likelihood of liability, they are self-interested in
   4   the transactions challenged herein and cannot be presumed to be capable of
   5   exercising independent and disinterested judgment about whether to pursue this
   6   action on behalf of the shareholders of the Company. Accordingly, demand is
   7   excused as being futile.
   8         216. Publicly traded companies, such as Illumina, typically carry director
   9   and officer liability insurance from which the Company could potentially recover
  10   some or all of its losses. However, such insurance typically contains an “insured vs.
  11   insured” disclaimer that will foreclose a recovery from the insurers if the Individual
  12   Defendants sue each other to recover the Company’s damages. If no such insurance
  13   is carried, then the Current Directors will not cause the Company to sue the
  14   Individual Defendants named herein, since, if they did, they would face a large
  15   uninsured individual liability. Accordingly, demand is futile in that event.
  16         217. Accordingly, each of the Current Directors, and at least a majority of
  17   them, cannot reasonably consider a demand with the requisite disinterestedness and
  18   independence. Indeed, any demand upon the Current Directors is futile and, thus,
  19   excused.
  20                                 CLAIMS FOR RELIEF
  21                                         COUNT I
  22         (Against the Individual Defendants for Breach of Fiduciary Duties)
  23         218. Plaintiff incorporates by reference and re-allege each and every
  24   allegation contained above, as though fully set forth herein.
  25         219. The Individual Defendants owe the Company fiduciary obligations. By
  26   reason of their fiduciary relationships, the Individual Defendants owed and owe the
  27   Company the highest obligation of good faith, fair dealing, loyalty, and due care.
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1         220. The Individual Defendants violated and breached their fiduciary duties
   2   of care, loyalty, reasonable inquiry, and good faith.
   3         221. The Individual Defendants engaged in a sustained and systematic
   4   failure to properly exercise their fiduciary duties.     Among other things, the
   5   Individual Defendants breached their fiduciary duties of loyalty and good faith by
   6   allowing the Company to improperly misrepresent the Company’s publicly reported
   7   financials. These actions could not have been a good faith exercise of prudent
   8   business judgment to protect and promote the Company’s corporate interests.
   9         222. As a direct and proximate result of the Individual Defendants’ failure
  10   to perform their fiduciary obligations, the Company has sustained significant
  11   damages. As a result of the misconduct alleged herein, the Individual Defendants
  12   are liable to the Company.
  13         223. As a direct and proximate result of the Individual Defendants’ breach
  14   of their fiduciary duties, the Company has suffered damage, not only monetarily, but
  15   also to its corporate image and goodwill. Such damage includes, among other things,
  16   costs associated with defending securities lawsuits, severe damage to the share price
  17   of the Company, resulting in an increased cost of capital, the waste of corporate
  18   assets, and reputational harm.
  19                                        COUNT II
  20           (Against the Individual Defendants for Gross Mismanagement)
  21         224. Plaintiff incorporates by reference and re-allege each allegation
  22   contained above, as though fully set forth herein.
  23         225. By their actions alleged herein, the Individual Defendants, either
  24   directly or through aiding and abetting, abandoned and abdicated their
  25   responsibilities and fiduciary duties with regard to prudently managing the assets
  26   and business of the Company in a manner consistent with the operations of a publicly
  27   held corporation.
  28                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

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   1         226. As a direct and proximate result of the Individual Defendants’ gross
   2   mismanagement and breaches of duty alleged herein, the Company has sustained
   3   significant damages in excess of hundreds of millions of dollars.
   4         227. Because of the misconduct and breaches of duty alleged herein, the
   5   Individual Defendants are liable to the Company.
   6                                        COUNT III
   7         (Against the Individual Defendants for Waste of Corporate Assets)
   8         228. Plaintiff incorporates by reference and realleges each and every
   9   allegation contained above, as though fully set forth herein.
  10         229. The wrongful conduct alleged regarding the issuance of false and
  11   misleading statements was continuous, connected, and on-going throughout the
  12   Relevant Period. It resulted in continuous, connected, and ongoing harm to the
  13   Company.
  14         230. As a result of the misconduct described above, the Individual
  15   Defendants wasted corporate assets by, inter alia: (i) paying excessive compensation
  16   and bonuses to certain of its executive officers; (ii) awarding self-interested stock
  17   options to certain officers and directors; and (iii) incurring potentially millions of
  18   dollars of legal liability and/or legal costs to defend Defendants’ unlawful actions.
  19         231. As a result of the waste of corporate assets, the Individual Defendants
  20   are liable to the Company.
  21                                        COUNT IV
  22             (Against the Individual Defendants for Unjust Enrichment)
  23         232. Plaintiff incorporates by reference and realleges each and every
  24   allegation set forth above, as though fully set forth herein.
  25         233. By their wrongful acts, violations of law, and inaccurate and untruthful
  26   information and/or omissions of material fact that they made and/or caused to be
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   1   made, the Individual Defendants were unjustly enriched at the expense of, and the
   2   detriment of, the Company.
   3         234. The Individual Defendants either benefitted financially from the
   4   improper conduct, or received bonuses, stock options, or similar compensation from
   5   the Company that was tied to the performance of the Company or its stock price or
   6   received compensation or other payments that were unjust in light of the Individual
   7   Defendants’ bad faith conduct.
   8         235. Plaintiff, as a shareholder and representative of the Company seeks
   9   restitution from the Individual Defendants and seek an order from this Court
  10   disgorging all profits, including from insider transactions, the redemption of
  11   preferred stock, benefits, and other compensation, including any performance-based
  12   or valuation-based compensation, obtained by the Individual Defendants due to their
  13   wrongful conduct and breach of their fiduciary and contractual duties.
  14                                        COUNT V
  15              (Against the Director Defendants for Aiding and Abetting)
  16         236. Plaintiff incorporates by reference and re-alleges each and every
  17   allegation set forth above, as though fully set forth herein.
  18         237. The Director Defendants exploited, aided and abetted, and were
  19   knowing and culpable participants to the breaches of fiduciary duty by the Individual
  20   Defendants.
  21         238. Specifically, the Director Defendants, in violation of the Company’s
  22   corporate governance, engaged in and/or permitted the Company to engage in the
  23   scheme to issue materially false and misleading statements to the public, including
  24   in the Company’s SEC filings, and by facilitating and disguising the Individual
  25   Defendants’ violations of law as alleged herein, and failing to report the same.
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   1         239. As a result, the Director Defendants substantially assisted the
   2   Individual Defendants in breaching their fiduciary duties and in committing the other
   3   wrongful and unlawful conduct as alleged herein.
   4         240. As a direct and proximate result of the aiding and abetting the breaches
   5   of fiduciary duty alleged herein, the Company has sustained and will continue to
   6   sustain significant damages.
   7         241. As a result of the misconduct alleged herein, the Director Defendants
   8   are liable to the Company.
   9                                        COUNT VI
  10        (Against Defendants deSouza and Thompson for Contribution Under
  11           Sections 10(b) and 21D of the Securities Exchange Act of 1934)
  12         242. Plaintiff incorporates by reference and re-alleges each and every
  13   allegation set forth above, as though fully set forth herein.
  14         243. Illumina, along with the Defendants deSouza and Thompson (“Officer
  15   Defendants”), are named as defendants in the Icahn Action, Kangas Action, LSPRF
  16   Action, and Roy Action (together, the “Securities Class Actions”), which assert,
  17   inter alia, claims under the federal securities laws for violations of Sections 10(b)
  18   and 20(a) of the Exchange Act, and SEC Rule 10b-5 promulgated thereunder.
  19         244. The Securities Class Actions allege that the class members relied,
  20   directly or indirectly, upon the false and misleading statements and omissions, as
  21   alleged herein, in purchasing Illumina securities. The Securities Class Actions
  22   further allege that, as a direct and proximate result, the class members suffered
  23   damages because the value of their investments were artificially inflated by the false
  24   and misleading statements and omissions, they purchased such securities at the
  25   artificially inflated prices, and the value of their investments fell when the truth was
  26   eventually revealed, causing economic losses to the class members.
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   1         245. If and when the Company is found liable in the Securities Class Actions
   2   for these violations of the federal securities laws, the Company’s liability will be in
   3   whole or in part due to the Officer Defendants’ willful and/or reckless violations of
   4   their obligations as officers and/or directors of the Company.
   5         246. The Officer Defendants, because of their positions of control and
   6   authority as senior executive officers of the Company, were able to and did, directly
   7   and/or indirectly, exercise control over the business and corporate affairs of the
   8   Company, including the wrongful acts complained of herein and in the Securities
   9   Class Actions.
  10         247. Accordingly, the Officer Defendants are liable under 15 U.S.C. §
  11   78j(b), which creates a private right of action for contribution, and Section 21D of
  12   the Exchange Act, 15 U.S.C. § 78u-4(f), which governs the application of a private
  13   right of action for contribution arising out of violations of the Exchange Act.
  14         248. As such, the Company is entitled to receive all appropriate contribution
  15   or indemnification from the Officer Defendants.
  16                                REQUEST FOR RELIEF
  17         WHEREFORE, Plaintiff demands judgment as follows:
  18               A.      Determining that this action is a proper derivative action
  19         maintainable under law, and that demand is excused;
  20               B.      Awarding, against all the Individual Defendants and in favor of
  21         the Company, the damages sustained by the Company as a result of
  22         Defendants’ breaches of their fiduciary duties;
  23               C.      Awarding, against all the Individual Defendants and in favor of
  24         the Company, the damages sustained by the Company as a result of the
  25         Individual Defendants’ unjust enrichment;
  26               D.      Awarding, against the Director Defendants and in favor of the
  27         Company, damages sustained by the Company as a result of the Director
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   1        Defendants’ aiding and abetting of the Individual Defendants’ breaches of
   2        fiduciary duty;
   3             E.      Awarding, against the Officer Defendants and in favor of the
   4        Company, all contribution and indemnification under Sections 10(b) and 21D
   5        of the Securities Exchange Act of 1934;
   6             F.      Directing the Company to take all necessary actions to reform
   7        and improve its corporate governance and internal procedures, to comply with
   8        the Company’s existing governance obligations and all applicable laws and to
   9        protect the Company and its investors from a recurrence of the damaging
  10        events described herein;
  11             G.      Awarding to Plaintiff the costs and disbursements of the action,
  12        including reasonable attorneys’ fees, accountants’ and experts’ fees, costs,
  13        and expenses; and
  14             H.      Granting such other and further relief as the Court deems just and
  15        proper.
  16                                   JURY DEMAND
  17             Plaintiff demands a trial by jury on all issues so triable.
  18   Dated: March 8, 2024
  19                                         WOLF HALDENSTEIN ADLER
                                             FREEMAN & HERZ LLP
  20

  21                                              /s/ Betsy C. Manifold
                                             By: _______________________
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